Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 1 of 92 Page ID #1715


   1                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
   2
        OSBALDO JOSE-NICOLAS,              )
   3                                       )
                          Plaintiff,       )
   4                                       )
              vs.                          ) No. 15-cv-00964-NJR
   5                                       )
        NATHAN BERRY, et al.,              )
   6                                       ) August 16, 2018
                          Defendants.      )
   7

   8                     TRANSCRIPT OF JURY TRIAL DAY #3
                    BEFORE THE HONORABLE NANCY J. ROSENSTENGEL
   9                    UNITED STATES DISTRICT COURT JUDGE

  10                                 APPEARANCES

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  24
             Proceedings recorded by mechanical stenography;
  25    transcript produced by computer-aided transcription.



                                                    8/16/18 - Vol. 3/Pg. 1
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 2 of 92 Page ID #1716


   1                      MISCELLANEOUS INDEX

   2                                                                 PAGE

   3    Court's Preliminary Jury Instructions                           4
        Plaintiff's Closing Argument                                   22
   4    Defendants' Closing Argument                                   57
        Plaintiff's Rebuttal Closing Argument                          75
   5    Court's Final Jury Instructions                                79

   6                                 *   *   *   *

   7         (Proceedings convened in open court at 8:30 a.m.)

   8               COURTROOM DEPUTY:     Osbaldo Nicolas vs.

   9    Nathan Berry, et al., Case No. 15-cv-964, is called for Day

  10    3 of jury trial.     Will the parties please identify

  11    themselves for the record.

  12               MS. CROSLEY:    Your Honor, Adair Crosley on behalf

  13    plaintiff, Jose Osbaldo.      Co-counsel Julie Goodwin and

  14    Sarah Grady are entering.

  15               THE COURT:    Good morning, Counsel.

  16               MR. TYRRELL:    Good morning, Your Honor.

  17    Jeremy Tyrrell and Joseph Bracey, Assistant Attorneys

  18    General, on behalf of the defendants.

  19               THE COURT:    Good morning, Counsel, and the

  20    defendant, Mr. Nicolas.

  21               Before we go any further, let's swear the

  22    interpreter, if you would, please, Deana.         Ms. Angel is with

  23    us again today.

  24         (Interpreter Angel is sworn)

  25               THE COURT:    Okay.   So, all of our jurors are here.


        Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 2
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 3 of 92 Page ID #1717


   1    We've finalized the jury instructions.        Counsel, you have a

   2    clean copy to use?

   3               MS. GRADY:    Yes, Your Honor.

   4               THE COURT:    Okay.   Mr. Tyrrell, do you have a clean

   5    copy?

   6               MR. TYRRELL:    Yes, Your Honor.

   7               THE COURT:    Okay.   And who will be giving the

   8    closing argument on behalf of plaintiff?

   9               MS. GRADY:    I will, Your Honor.

  10               THE COURT:    Okay.   And, Mr. Tyrrell, you will be

  11    for defendants?

  12               MR. TYRRELL:    Yes, Your Honor.

  13               THE COURT:    So I'm going to have -- when the jury

  14    comes in I'll have the defendants formally rest on the

  15    record and then I'll read all but the last couple of

  16    instructions, and do closing arguments, and then I'll read

  17    the last few.

  18               Ms. Grady, how long do you think your closing

  19    argument will be?

  20               MS. GRADY:    About 45 minutes, Your Honor.

  21               THE COURT:    Mr. Tyrrell, any estimate?

  22               MR. TYRRELL:    I'd say about 15.

  23               THE COURT:    Okay.   All right.   Are we ready for the

  24    jury then?

  25               MR. TYRRELL:    Yes, Your Honor.


        Nicolas vs. Berry, #15-964
        Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 3
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 4 of 92 Page ID #1718


   1                  COURT'S PRELIMINARY JURY INSTRUCTIONS

   2         (Jury in)

   3               THE COURT:    Good morning, ladies and gentlemen.

   4    Welcome back.     I hope you had a nice evening.

   5               After you left yesterday we finalized your jury

   6    instructions.     Plaintiff rested yesterday.

   7               Mr. Tyrrell, will the defendants call any

   8    witnesses?

   9               MR. TYRRELL:    No, Your Honor.    Defendants rest.

  10               THE COURT:    Okay.   So, the evidence having

  11    concluded, then we are ready for final instructions that I

  12    promised you during jury selection.        So, again, you should

  13    each have a hard copy.      We will put them up on the screen.

  14    If you want the read along on your copy or read along on the

  15    screen or just listen to me, whatever is best for you, feel

  16    free to do.    I'm going to read all but just the last few and

  17    then we'll have closing arguments.

  18               Members of the jury, you have seen and heard all

  19    the evidence and will soon hear the arguments of the

  20    attorneys.    Now I will instruct you on the law.

  21               You have two duties as a jury:       Your first duty is

  22    to decide the facts from the evidence in the case.          This is

  23    your job and yours alone.

  24               Your second duty is to apply the law that I give

  25    you to the facts.     You must follow these instructions even


        Nicolas vs. Berry, #15-964
        Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 4
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 5 of 92 Page ID #1719


   1    if you disagree with them.

   2               Each of the instructions is important and you must

   3    follow all of them.      Perform these duties fairly and

   4    impartially.     Do not allow sympathy, prejudice, or public

   5    opinion to influence you.      You should not be influenced by

   6    any person's race, color, religion, national ancestry, or

   7    sex.

   8               Nothing I say now and nothing I said or did during

   9    the trial is meant to indicate any opinion on my part about

  10    what the facts are or about what your verdict should be.

  11               In this case, the plaintiff, Osbaldo Jose-Nicolas,

  12    is a prisoner.     All parties are equal before the law and

  13    entitled to the same fair consideration.

  14               The evidence consists of the testimony of the

  15    witnesses and the exhibits admitted into evidence.

  16               During the trial, the testimony of Lieutenant

  17    Kevin Reichert was presented to you by the reading of a

  18    deposition, and the testimony of Clayborn Smith was

  19    presented to you by video conference.        You should give this

  20    testimony the same consideration you would give it had the

  21    witness appeared and testified here in court.

  22               Certain things are not to be considered as

  23    evidence.    I will list them for you:

  24                 First, if I told you to disregard any

  25               testimony or exhibits or struck any testimony


        Nicolas vs. Berry, #15-964
        Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 5
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 6 of 92 Page ID #1720


   1               or exhibits from the record, such testimony or

   2               exhibits are not evidence and must not be

   3               considered.

   4                 Second, anything that you may have seen or

   5               heard outside the courtroom is not evidence

   6               and must be entirely disregarded.       This

   7               includes any press, radio, internet, or

   8               television reports you may have seen or heard.

   9               Such reports are not evidence and your verdict

  10               must not be influenced in any way by such

  11               publicity.

  12                 Third, questions and objections or comments

  13               by the lawyers are not evidence.       Lawyers have

  14               a duty to object when they believe a question

  15               is improper.    You should not be influenced by

  16               any objection and you should not infer from my

  17               rulings that I have any view as to how you

  18               should decide the case.

  19                 Fourth, the lawyers' opening statements and

  20               closing arguments to you are not evidence.

  21               Their purpose is to discuss the issues and the

  22               evidence.    If the evidence as you remember it

  23               differs from what the lawyers said, your

  24               memory is what counts.

  25               Any notes you have taken during this trial are only


        Nicolas vs. Berry, #15-964
        Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 6
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 7 of 92 Page ID #1721


   1    aids to your memory.      The notes are not evidence.      If you

   2    have not taken notes, you should rely on your independent

   3    recollection of the evidence and not be unduly influenced by

   4    the notes of other jurors.       Notes are not entitled to any

   5    greater weight than the recollections or impressions of each

   6    juror about the testimony.

   7               You should use common sense in weighing the

   8    evidence and consider the evidence in light of your own

   9    observations in life.      In our lives we often look at one

  10    fact and conclude from it that another fact exists.          In law

  11    we call this an "inference".       The jury's allowed to make

  12    reasonable inferences.      Any inference you make must be

  13    reasonable and must be based on the evidence in the case.

  14               You may have heard the terms "direct evidence" and

  15    "circumstantial evidence".       Direct evidence is proof that

  16    does not require an inference, such as the testimony of

  17    someone who claims to have personal knowledge of a fact.

  18    Circumstantial evidence is proof of a fact or series of

  19    facts that tends to show some other fact is true.

  20               As an example, direct evidence that it is raining

  21    is testimony from a witness who says, "I was outside a

  22    minute ago and I saw it raining."        Circumstantial evidence

  23    that it is raining is the observation of someone entering a

  24    room carrying a wet umbrella.

  25               The law makes no distinction between the weight to


        Nicolas vs. Berry, #15-964
        Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 7
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 8 of 92 Page ID #1722


   1    be given to either direct or circumstantial evidence.           You

   2    should decide how much weight to give to any evidence.           In

   3    reaching your verdict, you should consider all the evidence

   4    in the case, including the circumstantial evidence.

   5               You must decide whether the testimony of each of

   6    the witnesses is truthful and accurate in part, in whole, or

   7    not at all.    You also must decide what weight, if any, you

   8    give to the testimony of each witness.

   9               In evaluating the the testimony of any witness,

  10    including any party to the case, you may consider, among

  11    other things:     The ability and opportunity the witness had

  12    to see, hear, or know the things that the witness testified

  13    about; the witness's memory; any interest, bias, or

  14    prejudice the witness may have; the witness's intelligence;

  15    the manner of the witness while testifying; and the

  16    reasonableness of the witness's testimony in light of all

  17    the evidence in the case.

  18               You may find the testimony of one witness or a few

  19    witnesses more persuasive than the testimony of a larger

  20    number.    You need not accept the testimony of the larger

  21    number of witnesses.

  22               You may consider statements given by a party before

  23    trial as evidence of the truth of what that person said in

  24    the earlier statements as well as in deciding what weight to

  25    give his or her testimony.


        Nicolas vs. Berry, #15-964
        Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 8
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 9 of 92 Page ID #1723


   1               With respect to other witnesses, the law's

   2    different.    If you decide that before the trial the witness

   3    made a statement that is inconsistent with his or her

   4    testimony here in court, you may consider the earlier

   5    statement only in deciding whether his or her testimony here

   6    in court was true and what weight to give to the testimony

   7    here in court.

   8               In considering a prior inconsistent statement, you

   9    should consider whether it was simply an innocent error or

  10    an intentional falsehood and whether it concerns an

  11    important fact or an unimportant detail.

  12               You have heard evidence that a witness and a party

  13    has a felony conviction.      You may consider this evidence

  14    only in deciding whether the testimony's truthful in whole,

  15    in part, or not at all.      You may not consider this evidence

  16    for any other purpose.

  17               It is proper for a lawyer to meet with any witness

  18    in preparation for trial.

  19               The defendants are being sued as individuals.

  20    Neither the State of Illinois nor the Illinois Department of

  21    Corrections is a party to this lawsuit.

  22               You have heard evidence about whether the

  23    defendant's conduct complied with the internal policies and

  24    procedures of the Illinois Department of Corrections.           You

  25    may consider this evidence in your deliberations, but


        Nicolas vs. Berry, #15-964
        Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 9
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 10 of 92 Page ID #1724


    1    remember that the issue is whether the defendants violated

    2    Mr. Nicolas's constitutional rights, not whether a policy or

    3    procedure might have been violated or complied with.

    4              In determining whether any fact has been proved,

    5    you should consider all of the evidence bearing on the

    6    question, regardless of who introduced it.

    7              The law does not require any party to call as a

    8    witness every person who might have knowledge of the facts

    9    related to this trial.      Similarly, the law does not require

   10    any party to present as exhibits all papers and things

   11    mentioned during this trial.

   12              You should consider only the evidence provided

   13    through the official interpreter.       Although some of you may

   14    know Spanish, it is important that all jurors consider the

   15    same evidence.    Therefore, you must base your decision on

   16    the evidence presented in the English translation.

   17              Certain charts and diagrams have been shown to you.

   18    Those charts and diagrams are used for convenience and to

   19    help explain the facts of the case.       They are not themselves

   20    evidence or proof of any facts.

   21              You must give separate consideration to each claim

   22    and each party in this case.      Although there are five

   23    defendants, it does not follow that if one is liable any of

   24    the others is also liable.

   25              When I say that Mr. Nicolas must prove something by


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 10
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 11 of 92 Page ID #1725


    1    "a preponderance of the evidence" or when I use the

    2    expression "if you find" or "if you decide," this is what I

    3    mean:   When you have considered all the evidence in the case

    4    you must be persuaded that it is more probably true than not

    5    true.

    6              Plaintiff Osbaldo Jose-Nicolas brings the following

    7    claims:

    8                 (1) That Defendants Nathan Berry and

    9              William Qualls used excessive force against

   10              Mr. Nicolas on February 5th, 2014;

   11                 (2) That Defendants Nathan Berry, William

   12              Qualls, Justin Snell, and Matthew Purdom

   13              failed to intervene in order to prevent the

   14              use of excessive force against Mr. Nicolas on

   15              February 5th, 2014;

   16                 (3) That Defendants Nathan Berry, William

   17              Qualls, Justin Snell, Matthew Purdom, and

   18              Aimee Lang failed to provide constitutionally

   19              adequate medical care or access to adequate

   20              medical care to Mr. Nicolas;

   21                 (4) That Defendants Nathan Berry, William

   22              Qualls, Justin Snell, Matthew Purdom, and

   23              Aimee Lang engaged in wilful and wanton

   24              conduct that posed a serious risk of harm to

   25              Mr. Nicolas.


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 11
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 12 of 92 Page ID #1726


    1              The defendants deny each of the claims against

    2    them.

    3              To succeed on his claim of excessive use of force

    4    against Defendants Nathan Berry and William Qualls,

    5    Mr. Nicolas must prove each of the following three things by

    6    a preponderance of the evidence, as to each defendant:

    7                 (1) The defendant intentionally used force

    8              on Mr. Nicolas;

    9                 (2) The defendant did so for the purpose of

   10              harming Mr. Nicolas and not in a good faith

   11              effort to maintain security; and

   12                 (3) The defendant's conduct harmed

   13              Mr. Nicolas.    Mr. Nicolas does not need to

   14              prove that he suffered a serious injury.         If

   15              the defendant's use of force caused pain to

   16              Mr. Nicolas, that is sufficient harm, even if

   17              Mr. Nicolas did not require medical attention

   18              or did not have long-lasting injuries.

   19              In deciding whether Mr. Nicolas has proved that a

   20    defendant used force for the purpose of harming Mr. Nicolas,

   21    you should consider all of the circumstances.         When

   22    considering all of the circumstances, among the factors you

   23    may consider are the need to use force, the relationship

   24    between the need to use force and the amount of force used,

   25    the extent of Mr. Nicolas's injury, whether the defendant


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 12
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 13 of 92 Page ID #1727


    1    reasonably believed there was a threat to the safety of

    2    staff or prisoners, and any efforts made by the defendant to

    3    limit the amount of force used, and whether the defendant

    4    was acting pursuant to a policy or practice of the prison

    5    that, in the reasonable judgment of prison officials, was

    6    needed to preserve security or order.

    7              If you find that Mr. Nicolas has proved each of

    8    these things by a preponderance of the evidence as to a

    9    defendant, then you must decide for Mr. Nicolas and go on to

   10    consider the question of damages as to that defendant.

   11              If, on the other hand, you find that Mr. Nicolas

   12    has failed to prove any one of these things by a

   13    preponderance of the evidence as to a defendant, then you

   14    must decide for that defendant and you will not consider the

   15    question of damages.

   16              To succeed on his claim for failure to intervene

   17    against Defendants Nathan Berry, William Qualls,

   18    Justin Snell, and Matthew Purdom, Mr. Nicolas must prove

   19    each of the following five things by a preponderance of the

   20    evidence, as to each defendant:

   21                 (1) Excessive force was used on Mr. Nicolas

   22              on February 5th, 2014;

   23                 (2) The defendant knew that excessive force

   24              was being used or about to be used on

   25              Mr. Nicolas;


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 13
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 14 of 92 Page ID #1728


    1                 (3) The defendant had a realistic

    2              opportunity to do something to prevent harm

    3              from occurring;

    4                 (4) The defendant failed to take reasonable

    5              steps to prevent harm from occurring;

    6                 (5) The defendant's failure to act caused

    7              Mr. Nicolas to suffer harm.

    8              If you find that Mr. Nicolas has proved each of

    9    these things by a preponderance of the evidence as to a

   10    defendant, then you must decide for Mr. Nicolas and go on to

   11    consider the question of damages as to that defendant.

   12              If, on the other hand, you find that Mr. Nicolas

   13    has failed to prove any one of these things by a

   14    preponderance of the evidence as to a defendant, then you

   15    must decide for that defendant and you will not consider the

   16    question of damages.

   17               To succeed on his claim for failure to provide

   18    medical care against the Defendants Nathan Berry,

   19    William Qualls, Justin Snell, Matthew Purdom, and

   20    Aimee Lang, Mr. Nicolas must prove each of the following

   21    four things by a preponderance of the evidence, as to each

   22    defendant:

   23                 (1) Mr. Nicolas had a serious medical need.

   24              A serious medical need is a condition that a

   25              doctor says requires treatment or something so


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 14
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 15 of 92 Page ID #1729


    1              obvious that even someone who is not a doctor

    2              would recognize that it requires treatment.

    3                 (2) The defendant was aware that Mr. Nicolas

    4              had a serious medical need or strongly

    5              suspected facts showing a strong likelihood

    6              that Mr. Nicolas had a serious medical need

    7              but refused to confirm whether these facts

    8              were true.    You may infer this from the fact

    9              that the need was obvious.

   10                 (3) The defendant consciously failed to take

   11              reasonable measures to provide treatment for

   12              the serious medical need.      Mr. Nicolas does

   13              not have to show that the defendant ignored

   14              him or provided no care.      If the defendant

   15              provided some care, Mr. Nicolas must show that

   16              the defendant knew his actions likely would be

   17              ineffective or that the defendant's actions

   18              were clearly inappropriate.

   19                 (4) As a result of the defendant's actions,

   20              Mr. Nicolas was harmed.      Mr. Nicolas may prove

   21              that the defendant harmed him with evidence

   22              that he suffered prolonged unnecessary pain.

   23              If you find that Mr. Nicolas has proved each of

   24    these things by a preponderance of the evidence as to any

   25    defendant, then you should find for Mr. Nicolas and go on to


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 15
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 16 of 92 Page ID #1730


    1    consider the question of damages as to that defendant.

    2              If, on the other hand, you find that Mr. Nicolas

    3    has failed to prove any one of these things by a

    4    preponderance of the evidence, then you should find for that

    5    defendant on his claim, and you will not consider the

    6    question of damages on his claim.

    7               Mr. Nicolas's next claim is that he was injured

    8    and sustained both physical and mental and emotional damage

    9    and that the conduct of one or more defendants was wilful

   10    and wanton in one or more of the following respects:

   11                 That the Defendants Nathan Berry and/or

   12              William Qualls used force against Mr. Nicolas;

   13                 That the Defendants Nathan Berry,

   14              William Qualls, Justin Snell, and/or

   15              Matthew Purdom failed to intervene when force

   16              was being used against Mr. Nicolas;

   17                 That the Defendants Nathan Berry,

   18              William Qualls, Justin Snell, Matthew Purdom,

   19              and/or Lang failed to provide appropriate

   20              medical care or access to medical care for

   21              Mr. Nicolas's injuries; and

   22              Mr. Nicolas further claims that one or more of the

   23    foregoing was a proximate cause of his injuries.

   24              The defendants deny that they did any of the things

   25    claimed by Mr. Nicolas, deny that they were wilful and


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 16
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 17 of 92 Page ID #1731


    1    wanton in doing any of the things claims by Mr. Nicolas, and

    2    deny that any claimed act or omission on their part was a

    3    proximate cause of Mr. Nicolas's claimed injuries.

    4               To succeed on his claim for wilful and wanton

    5    conduct, Mr. Nicolas must prove the following three things

    6    by a preponderance of the evidence, as to each defendant:

    7                 (1) That the defendant acted or failed to

    8              act in one of the ways claimed by Mr. Nicolas

    9              as stated to you in the prior instruction, and

   10              that in so acting or failing to act, the

   11              defendant was wilful and wanton.

   12                 (2) That Mr. Nicolas was injured.

   13                 (3) That the wilful and wanton conduct of

   14              the defendant was a proximate cause of the

   15              injury to Mr. Nicolas.

   16               If you find that Mr. Nicolas has proved each of

   17    these things by a preponderance of the evidence as to any

   18    defendant, then you should find for Mr. Nicolas, and go on

   19    to consider the question of damages as to that defendant.

   20               If, on the other hand, you find that Mr. Nicolas

   21    has failed to prove any one of these things by a

   22    preponderance of the evidence as to any defendant, then you

   23    should find for that defendant on this claim, and you will

   24    not consider the question of damages on this claim.

   25               It was the duty of the defendants, before and at


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 17
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 18 of 92 Page ID #1732


    1    the time of the occurrence, to refrain from wilful and

    2    wanton conduct which would endanger the safety of

    3    Mr. Nicolas.

    4                When I use the expression "wilful and wanton

    5    conduct," I mean a course of action which shows actual or

    6    deliberate intention to harm or, which, if not intentional,

    7    shows an utter indifference to or conscious disregard for

    8    the safety of others.

    9                When I use the expression "proximate cause," I

   10    mean a cause that, in the natural or ordinary course of

   11    events, produced Mr. Nicolas's injury.        It need not be the

   12    only cause nor the last or nearest cause.        It is sufficient

   13    if it combines with another cause resulting in the injury.

   14                If you decide for the defendants on the question

   15    of liability, then you should not consider the question of

   16    damages.

   17                If you find in favor of Mr. Nicolas on one or more

   18    of his claims, then you must determine the amount of money

   19    that will fairly compensate Mr. Nicolas for any injury that

   20    you find he sustained as a direct result of a defendant's

   21    unconstitutional actions.      These are called "compensatory

   22    damages".

   23                Mr. Nicolas must prove his damages by a

   24    preponderance of the evidence.       Your award must be based on

   25    evidence and not speculation.       This does not mean, however,


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 18
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 19 of 92 Page ID #1733


    1    that compensatory damages are restricted to the actual loss

    2    of money.    They include both the physical and mental aspects

    3    of injury, even if they are not easy to measure.

    4                You should consider the following types of

    5    compensatory damages and no others:       The physical and

    6    mental/emotional pain and suffering that Mr. Nicolas has

    7    experienced and is reasonably certain to experience in the

    8    future.   No evidence of the dollar value of physical or

    9    mental/emotional pain and suffering has been or needs to be

   10    introduced.    There is no exact standard for setting the

   11    damages to be awarded on account of these factors.          You are

   12    to determine an amount that will fairly compensate

   13    Mr. Nicolas for the injury he has sustained.

   14                If you find for Mr. Nicolas, you may, but are not

   15    required to, assess punitive damages against any one or more

   16    of the defendants.     The purposes of punitive damages are to

   17    punish a defendant for his or her conduct and to serve as an

   18    example or warning to the defendant and others not to engage

   19    in similar conduct in the future.

   20                Mr. Nicolas must prove, by a preponderance of the

   21    evidence, that punitive damages should be assessed against

   22    the particular defendant you are considering.         You may

   23    assess punitive damages only if you find that the

   24    defendant's conduct was malicious or in reckless disregard

   25    of Mr. Nicolas's rights.      Conduct is malicious if it was


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 19
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 20 of 92 Page ID #1734


    1    accompanied by ill will or spite or was done for the purpose

    2    of injuring Mr. Nicolas.      Conduct is in reckless disregard

    3    of Mr. Nicolas's rights, if, under the circumstances, the

    4    defendant simply did not care about Mr. Nicolas's safety or

    5    his rights.

    6               If you find that punitive damages are appropriate

    7    for one or more of the defendants, then you must use sound

    8    reason in setting the amount of those damages.         Punitive

    9    damages, if any, should be in an amount sufficient to

   10    fulfill the purposes that I have described to you but should

   11    not reflect bias, prejudice, or sympathy toward any party.

   12               In determining the amount of any punitive damages

   13    against one of the defendants, you should consider the

   14    following factors:

   15                 The reprehensibility of the defendant's

   16              conduct;

   17                 The impact of the defendant's conduct on

   18              Mr. Nicolas;

   19                 The relationship between Mr. Nicolas and the

   20              defendant;

   21                 The likelihood that the defendant would

   22              repeat the conduct if an award of punitive

   23              damages is not made; and

   24                 The relationship of any award of punitive

   25              damages to the amount of actual harm that


         Nicolas vs. Berry, #15-964
         Court's Preliminary Jury Instructions 8/16/18 - Vol. 3/Pg. 20
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 21 of 92 Page ID #1735


    1              Mr. Nicolas suffered.

    2                Okay.   So, I'm going to stop there and allow the

    3    counsel to present their closing arguments, and then I will

    4    finish up with the final instructions and explain the

    5    verdict form.

    6                So, Ms. Grady, you may now present your closing

    7    argument.

    8                        PLAINTIFF'S CLOSING ARGUMENT

    9              MS. GRADY:    Thank you, Your Honor, Counsel.

   10              Ladies and gentlemen of the jury, on February 5th,

   11    2014, Osbaldo Nicolas was beaten.

   12              THE COURT:    Sorry to interrupt.     I don't think the

   13    jury can hear you.     Do you have a microphone?

   14              MS. GRADY:    I can put a microphone on.

   15              THE COURT:    Sorry to interrupt.     You can start

   16    over.

   17              MS. GRADY:    Okay.   Can you hear me okay?      Great.

   18              Ladies and gentlemen of the jury, on February 5th,

   19    2014, Osbaldo Nicolas was beaten for talking back.          Sergeant

   20    Qualls and the other defendants decided to teach Mr. Nicolas

   21    a lesson, and that lesson was:       Inmates who don't obey, who

   22    aren't compliant, get hurt.      And how do we know that's true?

   23    We know that's true because Osbaldo Nicolas told you that it

   24    was true, we know it's true because Edgar Diaz told you it

   25    was true, and we know it's true because Clayborn Smith told


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 21
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 22 of 92 Page ID #1736


    1    you it was true.     He didn't just tell you it was true.

    2              On Tuesday he told the Internal Affairs unit it was

    3    true four days after the beating.       On February 9th, 2014, in

    4    a letter that he wrote to Internal Affairs in Springfield,

    5    at a time when Osbaldo Nicolas was in the segregation unit,

    6    kept away from Mr. Smith, he wrote and reported the abuse

    7    that he had seen.     And it will be your job as ladies and

    8    gentlemen of the jury to hold these officers accountable for

    9    that abuse.

   10              My colleague, Julie Goodwin, on Tuesday morning

   11    thanked you for coming and setting time out of your busy

   12    schedules and taking this case seriously.        We've seen over

   13    the past two-and-a-half days now how seriously you've taken

   14    this case.    We see how closely you've paid attention to

   15    every witness, both defendants' and plaintiff's, who have

   16    come in the courtroom and testified.        We saw how closely you

   17    paid attention even when Mr. Smith had to be presented by

   18    videoconference.     And we saw how closely you paid attention

   19    to every piece of evidence that was admitted.

   20              And I want to thank you, on behalf of my

   21    colleagues, Julie Goodwin, Adair Crosley, Valeria Brahas

   22    [phonetic], and, most importantly, on behalf of my client,

   23    Nicolas Osbaldo -- Osbaldo Nicolas, for paying such close

   24    attention to the claims in this case because this is an

   25    important case, ladies and gentlemen.        This is a case about


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 22
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 23 of 92 Page ID #1737


    1    one of the most basic rights that the constitution provides:

    2    It's the right to be free from cruel and unusual punishment,

    3    the right to be free from being beaten up because officers

    4    want to teach you a lesson, the right to be free from

    5    excessive force.

    6              And, Osbaldo Nicolas told you about the excessive

    7    force that he suffered on February 5th, 2014.         He told you

    8    about how he was being held in a holding cell while his cell

    9    was being searched.     This was an unannounced, routine search

   10    that Officer Berry explained was something that happens at

   11    Menard on a regular basis as part of their routine

   12    procedure.    They search these cells sort of on a random

   13    basis without announcing it first.

   14              And they put Mr. Nicolas and his cellmate,

   15    Edgar Diaz, in the holding cell on the even side of the

   16    prison, which we heard from both prisoners and defendants

   17    alike is held on the opposite side of where Mr. Nicolas and

   18    Mr. Diaz were housed.     And Mr. Nicolas testified that while

   19    he was in that holding cell there were prisoners coming from

   20    the galleries on the even side and going out to lunch, and

   21    he acknowledged to you that he was talking to some of those

   22    guys.   And Edgar Diaz acknowledged that, and Clayborn Smith

   23    acknowledged that, too.      They were talking.     Clayborn Smith

   24    told you that's -- sometimes that's what happens.          Guys are

   25    walking past, you're talking, that happens.


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 23
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 24 of 92 Page ID #1738


    1              And Mr. Nicolas told you about how, as he was

    2    talking to some of these inmates, he was ordered by Sergeant

    3    Qualls to do something that he couldn't quite understand.

    4    Mr. Diaz told you that that order was to "shut the fuck up."

    5     And I wanted to say, as an aside, that I know there's been

    6    some profanity used in this trial, and I want to say it's

    7    not lightly that I use that profanity or that Mr. Nicolas

    8    uses that profanity or that Mr. Diaz or Mr. Smith used that

    9    profanity.    We understand that this is a courtroom and it's

   10    a place of respect, but it's important also to let you know

   11    what happened and how the situation escalated from some

   12    conversation that was happening in passing to a beating to

   13    teach Mr. Nicolas a lesson.      So you'll hear me use a few

   14    more obscenities today to tell you what happened on that

   15    day.   I just want you to know that I'm doing that because

   16    it's important to understand what happened and not because I

   17    don't respect you or the Court.

   18              So, Edgar Diaz told you that the officers -- he

   19    told you that Officer Snell first said, "Hey, guys, be

   20    cool."   And then seems like there might have been a few more

   21    words exchanged between some guys walking by, and the

   22    situation escalated.     And Clayborn Smith told you that he

   23    heard someone -- he acknowledges he doesn't know exactly

   24    who -- say something to the effect of, "Shut your pussy ass

   25    up."   So the situation escalated.


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 24
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 25 of 92 Page ID #1739


    1              Mr. Nicolas told you that he heard Sergeant Qualls

    2    tell him to face the wall, and Mr. Diaz told you that was

    3    kind of a confusing order because it wasn't really in the

    4    routine, but they did it.      And then Mr. Nicolas told you

    5    that Sergeant Qualls told him to sit down, and Nicolas

    6    didn't sit down.     He acknowledged to you that, instead, he

    7    said to Sergeant Qualls, "The floor is cold."         Well, that

    8    made Sergeant Qualls mad, and so he said, "Sit the fuck

    9    down."   And Mr. Nicolas told you again, he didn't sit down.

   10    He again repeated, "The floor is cold," and he apologized in

   11    Court for doing that.     He acknowledged that was not

   12    complying.

   13              And Sergeant Qualls got really mad.        This was a

   14    challenge to his authority.      He was the supervisor of the

   15    cellhouse.    This was his turf.     And he got angry.     And you

   16    heard from Mr. Nicolas about what happened and you heard

   17    from Mr. Diaz about what happened and you heard from

   18    Mr. Smith about what happened next.       Sergeant Qualls cuffed

   19    Mr. Nicolas up, pulled him out of his cell -- pulled him out

   20    of the holding cell and sucker punched him.         Mr. Nicolas

   21    told you that he didn't see it coming.        And that was the

   22    point:   The point was to teach Mr. Nicolas a lesson about

   23    what happens when you don't listen to Sergeant Qualls, when

   24    you don't listen to the supervisor of that cellhouse.

   25              Now, you heard testimony from Clayborn Smith that


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 25
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 26 of 92 Page ID #1740


    1    he saw the sucker punch as well, and he told you about how

    2    it was that he was able to see that sucker punch, because he

    3    was standing at the front of his line, at the front of his

    4    cell when the line was going to chow with his mirror out

    5    looking for someone who was coming by.        I don't think we

    6    ever really heard who that was.       And he told you he was

    7    standing right here and he had his mirror out.         And

    8    Sergeant Qualls admitted, yeah, this is something the guys

    9    do, they got a mirror.      And it makes sense.     If you're

   10    staring at a wall and you have a mirror, yeah, you're going

   11    to have a mirror and it will allow you to kind of see right

   12    here.   You can kind of see what's going on.        I imagine it's

   13    boring to stare at a wall and some bars all day.

   14              So, Smith probably -- you know, it's reasonable,

   15    and you can use your common sense to understand that this is

   16    kind of something that he would do from time to time; to see

   17    what's going on, he'd use his mirror.        He told you about

   18    what he could see and how, if he's standing at the very

   19    front of his cell, he, without his mirror, can see into this

   20    cage.   And then once he has his mirror out, he can see all

   21    the way to here.     And remember, ladies and gentlemen, these

   22    are bars, not walls.     And so standing here, he can see here,

   23    and with his mirror he can kind of see right about here, and

   24    then his line of sight sort of stops.

   25              Mr. Nicolas told you about the sucker punch.


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 26
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 27 of 92 Page ID #1741


    1    Mr. Smith told you about the sucker punch.         Mr. Diaz told

    2    you about the sucker punch.      They all told you what happened

    3    next.   Sergeant Qualls dragged Mr. Nicolas, who was doubled

    4    over, over to this area right around the showers and he

    5    punched Mr. Nicolas and he slammed Mr. Nicolas's head into

    6    the concrete, and he kicked Mr. Nicolas, and he punched him

    7    again and he kicked him again and he punched him again until

    8    Mr. Nicolas fell to the ground.       But the beating didn't stop

    9    there, ladies and gentlemen.      Sergeant Qualls continued to

   10    kick Mr. Nicolas in the stomach, in the back, in the legs.

   11    He kicked him so hard that Mr. Nicolas told you his legs

   12    were numb by the end.     And Mr. Nicolas told you about, as he

   13    lay there curled up -- and remember, he's handcuffed this

   14    whole time so he can't even use his hands to protect himself

   15    from the blows, and he thinks to himself, My God, why me?

   16              And you heard testimony that Officer Berry took

   17    Mr. Nicolas, along with Sergeant Qualls, and participated in

   18    that beating.    And I want to just acknowledge that there was

   19    some different testimony by Mr. Diaz and Mr. Smith about

   20    exactly what Officer Berry was doing, and it will be your

   21    job at the end of the day to decide.        Mr. Nicolas got on the

   22    stand and he told you, "It's my memory that Officer Berry

   23    was the other officer who was involved in that beating."

   24    But he also acknowledged that he was terrified and that he

   25    couldn't be a hundred percent sure.       And that testimony was


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 27
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 28 of 92 Page ID #1742


    1    honest, and it will be up to you to decide.         But there's one

    2    point that everybody agrees on with respect to Sergeant

    3    Berry:   He was right there and he was right where he could

    4    see and he could intervene, and he did not.         On that point

    5    the testimony is clear.

    6              Mr. Nicolas told you that eventually and,

    7    thankfully, the beating did stop, and he was yanked up to

    8    his feet and dragged out of the cellhouse, and at that point

    9    he was taken to segregation.      Mr. Smith told you that the

   10    very last time he ever laid eyes on Mr. Nicolas was to see

   11    him being dragged out of this door after he came back into

   12    view.

   13              Mr. Nicolas told you that on that walk to

   14    segregation he could barely move his legs and walk on his

   15    own, and Sergeant Qualls walked with Mr. Nicolas and had to

   16    keep Mr. Nicolas up.     But Mr. Nicolas was very clear:       There

   17    was no ice on the walk to North 2 segregation, and neither

   18    he nor Sergeant Qualls slipped on any such ice.         And

   19    Edgar Diaz, who followed Mr. Nicolas to segregation, told

   20    you the same thing.     And Officer Berry, who followed

   21    Mr. Nicolas and Sergeant Qualls, told you the same thing:

   22    No ice, no slip, no fall.

   23              So, Mr. Nicolas told you about how he was brought

   24    to the segregation unit after his beating at West cellhouse,

   25    and he was thrown into a shower area there, and he was lying


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 28
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 29 of 92 Page ID #1743


    1    on the ground and he couldn't get up, and he told you that

    2    he felt worthless.     And then Aimee Lang arrived, an

    3    opportunity to get help, to get medical care, an opportunity

    4    to be taken to a place where he could be evaluated and have

    5    his injuries treated.     And we went through what happened as

    6    a result of Ms. Lang's encounter with Mr. Nicolas.          She took

    7    one look at him from five feet away, she wrote down the

    8    abrasion she could obviously see.       She took no steps to

    9    evaluate the other complaints that she did note, and she

   10    walked away.    She walked away and told Mr. Nicolas, "Follow

   11    up PRN."    We heard testimony that "PRN" means follow up as

   12    needed.    She saw that Mr. Nicolas was injured and she didn't

   13    even bother to give him an ice pack.

   14               Mr. Nicolas told you about the pain that he was

   15    suffering at that time, about how he -- his abdomen was in

   16    pain, his jaw was in pain, his wrist was in pain, his legs

   17    were in pain, these places where Sergeant Qualls and the

   18    other officer had beaten him for five to eight minutes.          He

   19    testified about that pain that he felt.        And you'll see from

   20    the medical records that his testimony is corroborated by

   21    what he said to medical staff just two days later, and you

   22    can see it there.     He told medical staff after -- as he told

   23    you, after being thrown in the cell in segregation, using a

   24    pen he found in the corner and a little scrap of paper to

   25    draw out the ink so that he could write a note to


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 29
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 30 of 92 Page ID #1744


    1    Healthcare.    And, thankfully, the note was found and

    2    processed and he got to see a medical technician, another

    3    medical technician, and he told that medical technician, "I

    4    was hit in my cheek, face, and jaw.       It hurts bad."     And he

    5    told the med tech about what happened and when it happened.

    6              And, now, you heard some statement from defendants,

    7    I believe on cross-examination, that, well, he said

    8    altercation but he didn't say it was the officers who beat

    9    him.    Ladies and gentlemen, Judge Rosenstengel told you that

   10    you're entitled to use your common sense, and this is a

   11    perfect example of when common sense will tell you that he

   12    told this medical technician that officers beat him up and

   13    she or he wrote that down and did what he or she was

   14    supposed to do, sent him on to be evaluated and be

   15    appropriately treated.

   16              But, of course, common sense will tell you that

   17    when he reports being beaten, maybe the Illinois Department

   18    of Corrections medical technician isn't going to write down

   19    it was the officers who did the beating.        I think using your

   20    common sense you can see that he did report that he was

   21    beaten by officers.     And you see here that Mr. Nicolas

   22    reports that the pain is seven out of ten.         Now, that

   23    strikes me as probably the most honest answer you could

   24    give.   You see sometimes when people report ten out of ten,

   25    and you know that -- you've heard when you go to the


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 30
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 31 of 92 Page ID #1745


    1    doctor's office, ten out of ten means, I can't even walk, I

    2    can't even talk, someone just cut off my leg.         That's ten

    3    out of ten pain.     Mr. Nicolas is being honest and he's

    4    telling you exactly how much pain he had.        He's telling this

    5    nurse how much pain he had on February 7th.         Seven out of

    6    ten, that's a lot of pain.

    7              And this nurse notes that Mr. Nicolas has an

    8    alteration in his range of movement.        That means something

    9    about how Mr. Nicolas is walking or moving around is not

   10    right, and she notes -- she or he notes that there's

   11    swelling and she or he notes that there's numbness.          And

   12    this all happened on February 7th, 2014, just two days after

   13    Mr. Nicolas is beaten by Sergeant Qualls at West cellhouse.

   14              And this medical technician, unlike Ms. Lang,

   15    finally provides him a cold pack and Tylenol and refers him

   16    to see medical care.     And, ladies and gentlemen, this nurse

   17    did the right thing, but it didn't cure Mr. Nicolas's pain,

   18    and so you'll see that in March of 2014, Mr. Nicolas

   19    presents to a doctor still complaining of pain.         He tells

   20    this doctor, "I was struck in the left groin and now I have

   21    two bumps."    And the doctor agrees, two mildly tender nodes,

   22    left groin, and he assesses him and determines that he does,

   23    in fact, have a left groin injury.       That's a month, over a

   24    month after this beating, ladies and gentlemen, and

   25    throughout that time Mr. Nicolas has suffered the pain of


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 31
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 32 of 92 Page ID #1746


    1    this beating that included punches and slams of his head

    2    into the wall and kicks to his body.

    3              And Sergeant Qualls told you what he kicked

    4    Mr. Nicolas with.     He testified that he doesn't wear tennis

    5    shoes, doesn't wear flip flops; he wears big black boots.

    6    And Mr. Nicolas testified about the pain that those black

    7    boots inflicted on his abdomen and his legs on February 5th,

    8    2014.

    9              Now, I want to talk specifically about Mr. Smith

   10    because Mr. -- Clayborn Smith's testimony and

   11    Clayborn Smith's letter, which you will have back in the

   12    jury room with you as you're considering plaintiff's claims,

   13    is one of the key pieces of this story.        Clayborn Smith told

   14    you that he has never in his life met Osbaldo Nicolas, and

   15    Mr. Nicolas told you that, too, and I believe Mr. Diaz told

   16    you that as well.     This guy is a guy who's now in Cook

   17    County jail.    He was at Menard on the even side of the

   18    cellhouse; whereas, Mr. Nicolas and Mr. Diaz were housed

   19    over on the odd side.     He speaks English.     Mr. Nicolas, as

   20    you've seen here today and over the past few days, I think

   21    understands some English but requires the use of an

   22    interpreter for communication.

   23              So, Clayborn Smith writes a letter to the

   24    internal -- or, rather, the investigative unit at

   25    Springfield, and Mr. Smith told you about why he wrote that


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 32
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 33 of 92 Page ID #1747


    1    letter.   He knew that these officers beat up Mr. Nicolas on

    2    February 5th, 2014, and he said that he just -- that wasn't

    3    the right thing and it really disturbed him.         And if

    4    officers could do that to Osbaldo Nicolas, they could do

    5    that to someone like him.      And he told you that the reason

    6    he wrote Springfield was, one, because had he written

    7    Menard, he worried that nothing would be done about it; and,

    8    two, he was scared of retaliation.

    9              And, ladies and gentlemen, I'll invite you to look

   10    at the last page of this letter, and I think it shows you

   11    exactly Mr. Smith's concern.      He specifically asked the

   12    investigative unit to remain anonymous.        "To all Menard

   13    correctional employees."      When he testified that he was

   14    worried about retaliation, you can tell from his letter that

   15    he wrote on February 9th, 2014, that that was a true fear.

   16    And we can also tell that when he testified about his

   17    concern Menard's Internal Affairs wouldn't take this

   18    complaint seriously, we also know that's true because, as we

   19    heard from the testimony, when Internal Affairs received

   20    this letter they sent it to the warden on February 19th,

   21    2014.   And, ladies and gentlemen of the jury, that date is

   22    important because it shows that by February 19th of 2014, a

   23    time when Mr. Nicolas was still in segregation, the

   24    Internal Affairs unit in Springfield had already received

   25    Clayborn Smith's letter.      They had reviewed it and they had


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 33
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 34 of 92 Page ID #1748


    1    determined that how it should be handled is to be sent back

    2    to Menard to be handled by their Internal Affairs unit.          And

    3    we saw what happened once Menard Internal Affairs unit got a

    4    hold of that letter and took charge of that investigation.

    5    They interviewed correctional staff, and they never

    6    interviewed Clayborn Smith, they never interviewed

    7    Edgar Diaz, and they never interviewed Osbaldo Nicolas, the

    8    person who's at the heart of this letter.        They never

    9    bothered to ask him what happened to him on February 5th.

   10              And, ladies and gentlemen, you'll see the abuse

   11    that Mr. Smith writes about in this letter.         You'll see

   12    that, as he testified to you on Tuesday, he heard someone

   13    use the phrase that you see written in that letter and that

   14    I used and that I told you about earlier.        And he describes

   15    the sucker punch that Sergeant Qualls landed on

   16    Osbaldo Nicolas on February 5th, 2014, and he describes

   17    exactly where he saw that happen.       And we talked about that.

   18    It happened right by the orange water cooler, which

   19    Mr. Smith told you is right here (indicating), right across

   20    from the door of the holding cage.

   21              Now, Edgar Diaz, from his perspective, from his

   22    advantage point, says, "Actually, I think it was more right

   23    when Qualls was pulling him out of the door."         And, ladies

   24    and gentlemen, I expect that defendants will try and point

   25    to that difference in memory, difference in perspective, and


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 34
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 35 of 92 Page ID #1749


    1    suggest to you that that means it's fabricated.         But that's

    2    exactly the sort of difference that you would expect from

    3    two people who don't know each other who saw things from

    4    different perspectives, one from a cellhouse just inside the

    5    gallery, one from the holding cage, one who's removed from

    6    the action, one who's right in the middle of it.         That's the

    7    sort of difference four-and-a-half years later that you

    8    would expect different people to say about an event that

    9    they saw and are testifying about honestly.         That's the sort

   10    of detail you would expect.      Might be just a little bit

   11    different.

   12               And, make no mistake about it, ladies and

   13    gentlemen, there is the central fact that everybody agrees

   14    on:   There was a sucker punch to Mr. Nicolas, it caused him

   15    to double over, and he was then dragged to the area by the

   16    showers where he was beaten for about five to eight more

   17    minutes.    And Mr. Smith tells you about that further

   18    beating, and he told you that -- he acknowledged to you that

   19    he couldn't see the beating even with his mirror, right, and

   20    you know, he puts his mirror out but they disappear from

   21    view.   And he told you about how it was that he knew that

   22    the beating continued.      And I'm not even going to try and

   23    repeat what he -- the sounds he made in the demonstration he

   24    gave to you, but you could hear how that echoed from where

   25    he was and how it made that reverberating sound.         That's


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 35
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 36 of 92 Page ID #1750


    1    actually exactly the same environment that Mr. Nicolas was

    2    in when he was getting beaten, and those same echos you

    3    would expect to hear, and Mr. Smith told you about how he

    4    heard them and why he heard them, because the chow lines

    5    were out and the place was a little bit quieter.

    6              Then he told you about Officer Snell and

    7    Officer Berry ordering him to put his mirror in his cell.

    8    And he told you about how they had Diaz up against the side,

    9    and he demonstrated that for you, and they were looking -- I

   10    think he said they were looking this way, so facing his cell

   11    and looking back, and so they would have had the opportunity

   12    to see him in his cell with his mirror sticking out.          And he

   13    told you that he put his mirror in his cell, and that's

   14    honest.   Mr. Smith doesn't want to get beaten up.         And he

   15    told you about the cries that he heard as Sergeant Qualls

   16    was back in the shower area with Mr. Nicolas, and he told

   17    you about -- he told you about some other officers who he

   18    saw, and you'll see that those people are mentioned in this

   19    letter.

   20              But, ladies and gentlemen of the jury, the judge

   21    has instructed you that what you are to focus on is the

   22    claims against the defendants, and the fact that other

   23    officers were present and either were or were not also

   24    responsible for failing to intervene in this assault, that

   25    is not something that you should be considering.         What you


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 36
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 37 of 92 Page ID #1751


    1    should consider is whether these officers who sit before you

    2    today were involved in the beating or failing to intervene

    3    to stop the beating.

    4              And, finally, Mr. Smith tells the Internal Affairs

    5    unit in this letter about how he saw Mr. Nicolas one last

    6    time bent over with his face down and rushed out the West

    7    exit door.    Mr. Smith told you about it took him four days

    8    to write this letter, and he told you about how he contacted

    9    an inmate worker to get the names of the inmates who were

   10    involved because he didn't know.       I think he called them two

   11    Latino guys.    So he got their names, and he got their names

   12    because he wanted an investigation to be started, and he

   13    knew that the names were important to start that

   14    investigation and to get it rolling.        And, unfortunately for

   15    Mr. Nicolas, the fact that he got those names didn't make a

   16    difference.

   17              Mr. Diaz also testified to you about what happened,

   18    and at the very end of his testimony he brought up something

   19    that I think is the really important.        He was asked about

   20    why Sergeant Qualls did what he did, and what he said to

   21    you, ladies and gentlemen, was, "I don't know, he just

   22    snapped."    And, ladies and gentlemen, I think that's exactly

   23    what happened.    Sergeant Qualls ordered Nicolas to sit down

   24    and Nicolas didn't sit down, and Sergeant Qualls got mad and

   25    he got madder and then he snapped.


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 37
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 38 of 92 Page ID #1752


    1              In their opening statement defendants told you, why

    2    would these defendants risk their career to beat up an

    3    inmate?   Now, that suggests that what we are required to

    4    prove is that Sergeant Qualls woke up on the morning of

    5    February 5th, 2014 and said, "You know what I'm going to do

    6    today?    I'm going to beat Mr. Nicolas up or maybe I'm just

    7    going to beat someone up."      But we are not required to prove

    8    that, ladies and gentlemen.      We are not required to prove

    9    that Sergeant Qualls had any intention in advance to use

   10    force against Mr. Nicolas.      Instead, what we are required to

   11    prove is that Sergeant Qualls did use force and that it

   12    wasn't an accident, he didn't slip and fall, but that he

   13    intentionally landed blows on Mr. Nicolas on February 5th,

   14    2014, and that he did so with -- not to keep order in the

   15    prison but to cause him harm.       And, ladies and gentlemen, I

   16    think that's exactly what happened.       Sergeant Qualls decided

   17    to teach Mr. Nicolas a lesson, and he -- and that lesson was

   18    that inmates who talk back get hurt.

   19              I think the better question than, "Why would the

   20    defendants risk their careers," is, "Why would two prisoners

   21    who stand nothing to gain by this lawsuit" -- if you find

   22    for plaintiff on every single one of his claims and you

   23    award him damages, they get nothing, they gain nothing.          And

   24    Mr. Smith testified that -- Mr. Smith told you that when he

   25    wrote that letter he would have had nothing to gain.          Why


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 38
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 39 of 92 Page ID #1753


    1    would they risk their lives, their safety?         Keep in mind, at

    2    the time both of these inmates came forward they were under

    3    control by the same defendants they were complaining about

    4    and other guards who worked at the prison.         Those are guards

    5    who control their movement, their ability to go to lunch,

    6    their ability to get commissary, their ability to make phone

    7    calls to their loved ones, their ability to sleep, to go to

    8    programming school, all of these things.        Those are the

    9    officers who are in charge of their every movement.          Why

   10    would they come forward and tell something about what

   11    happened to another prisoner unless it was anything except

   12    the truth?    And, ladies and gentlemen of the jury, it was

   13    the truth.

   14              Now, the officers also testified, and I want to go

   15    through what I think are a couple of important points about

   16    that testimony.    First, Lieutenant Qualls testified, and I

   17    think we all saw on the stand that he was very defensive.

   18    In fact, shortly after he got on the stand I made a mistake

   19    and I called him Sergeant Qualls, and he stopped the whole

   20    proceeding and he said, "Excuse me, ma'am.         I am a

   21    lieutenant now."     It's not hard to imagine how someone who

   22    gets that upset about a mistaken honorific would get really

   23    mad when an inmate in his cellhouse doesn't take an order,

   24    isn't compliant.

   25              And he remained defensive, I think, throughout our


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 39
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 40 of 92 Page ID #1754


    1    questioning, my questioning of him.       When we talked about

    2    what happened on February 5th, 2014, he said, "Oh, yeah, it

    3    was a fall.    The ice on Front Street was 100 yards long."         A

    4    hundred yards long.     Ladies and gentlemen, a hundred yards

    5    is the length of a football field.       According to Lieutenant

    6    Qualls, Front Street was a football field of ice.          According

    7    to his testimony -- and keep in mind he admitted that when

    8    he took Mr. Nicolas to segregation on February 5th, 2014, it

    9    was just shortly after a large group of prisoners, maybe

   10    like 20 to 50, had been moving lines, and there were

   11    multiple lines moving.      And Front Street, as we learned, is

   12    the main place that not only prisoners, but nurses use that

   13    Front Street, officers use Front Street.        I'm sure the --

   14    it's the main source of movement between places in the

   15    cellhouse.    And it was Sergeant Qualls's testimony in court

   16    that he recalled 100 yards of ice.       But he admitted to you

   17    that, despite that, he didn't make a single call to anybody

   18    after falling.    He didn't tell anyone that he had fallen.

   19    He didn't ask anyone to come salt Front Street, even though

   20    he knew there was going to be movement back and forth as

   21    soon as Mr. Nicolas and Mr. Diaz went to segregation.          He

   22    didn't even tell Officer Berry, his guy, the guy he's

   23    responsible for supervising, his -- one of the people that

   24    was under him in the chain of command.        He didn't even

   25    bother to tell him, "Hey, man, watch out.        It's slippery."


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 40
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 41 of 92 Page ID #1755


    1    That's because, ladies and gentlemen, that was a lie.

    2    Mr. Nicolas told you that that was not the truth.          Mr. Diaz

    3    told you that that was not the truth.        Officer Berry told

    4    you that was not the truth.      They all agreed, Sergeant --

    5    Lieutenant Qualls is the only person who testified in this

    6    courtroom that there was ice on Front Street on

    7    February 5th, 2014.

    8               And I want to show you Lieutenant Qualls's incident

    9    report because I think it shows how inconsistent

   10    Sergeant Qualls' story is -- Lieutenant Qualls's story is

   11    even with himself.     You can see there that in his incident

   12    report he claims it was a patch of ice.        Now he's saying it

   13    was a hundred yards sheet of ice, Front Street's covered.

   14    And keep in mind, ladies and gentlemen, that in his

   15    interview a month later with Lt. Reichert, he doesn't

   16    mention ice at all.     No ice in this story.      Ladies and

   17    gentlemen, that's because there was no ice.         And that's

   18    because February 5th, Mr. Nicolas didn't slip and fall on

   19    any ice.    He got injured because he was punched and beaten

   20    by Sergeant Qualls and another officer in West cellhouse.

   21               Now, you'll have these investigative interviews,

   22    and it's no surprise, as we've gone through, that each one

   23    of them denies that they did anything inappropriate.          But as

   24    you'll see, there are some eerily consistent things, things

   25    that defendants admitted were not factually true according


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 41
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 42 of 92 Page ID #1756


    1    to their own statement.      You see that every single one of

    2    these officers uses the word "compliant".        Every single one

    3    of them says Nicolas and Diaz were compliant.         But as you

    4    heard testimony, Lieutenant Qualls said, "Actually, Diaz

    5    refused all orders given.      Actually, Nicolas was so

    6    noncompliant that I had to write him a ticket for not

    7    complying."    But a month later Berry gets interviewed by

    8    Lt. Reichert about what happened, and he says "compliant".

    9    And then the officers fall into line, and you see Snell the

   10    next day say "compliant," and you see Qualls the next day

   11    say "compliant".     Now they all have to be wed to this story

   12    and they all fall in line, just like they did yesterday

   13    during their testimony.

   14              You heard Lieutenant Qualls tell me that he didn't

   15    bring up the ice because he wasn't asked, and then you heard

   16    the next defendant talk about, "I wasn't asked."         Then you

   17    heard the next defendant say, "I wasn't asked."         Ladies and

   18    gentlemen, I think the evidence shows and I think your

   19    common sense should tell you that these officers had the

   20    opportunity a month after this beating to get together and

   21    get their story straight, and they did get their story

   22    straight; unlike Clayborn Smith who wrote a letter at a time

   23    when Mr. Nicolas was housed in segregation.         And the

   24    testimony you heard, unrebutted, was that at the time

   25    Mr. Smith wrote his letter, Nicolas is in segregation and


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 42
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 43 of 92 Page ID #1757


    1    there's no opportunity for them to come together and talk

    2    about what had happened.      Let's be clear, the segregation

    3    unit, the whole point is to segregate.        They didn't see each

    4    other.    There was no opportunity for them to talk.        So

    5    unlike Clayborn Smith and Osbaldo Nicolas, these officers

    6    had the opportunity to get together and get their story

    7    straight.

    8              There's one other point I want to bring up in the

    9    Internal Affairs investigation.       You see that Berry simply

   10    talks about -- Berry simply talks about the inmates being

   11    compliant, and then Snell and Qualls add this little tidbit

   12    that doesn't come up anywhere else.       They say, "Oh, well,

   13    the lines were in the shower at that time, so couldn't have

   14    been, couldn't have been."      We don't see it anywhere else

   15    and kind of struck me as a weird fact.

   16              But as I was thinking about it this morning, you

   17    know, how are these officers going to know exactly what time

   18    we're talking about?     How do they know?     "Oh, that time

   19    you're talking about when I was alleged to be using

   20    excessive force?     Couldn't have been.     Couldn't have been.

   21    There's a school line there."       How would they know when

   22    we're talking about?

   23              Clayborn Smith's letter puts it sometime around

   24    10 a.m.   From what we know from the testimony about the

   25    lines is that they move.      That's the whole point of lines.


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 43
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 44 of 92 Page ID #1758


    1    You put them in the shower until the chow line goes out and

    2    then they go in the cellhouse.       That's the point of lines.

    3    they're moving.    How are these officers supposed to know

    4    exactly when this beating occurred and claim that, "Well,

    5    for those few minutes it couldn't have been because there's

    6    a school line," unless they know exactly what time we're

    7    talking about?    They know exactly what time we're talking

    8    about, ladies and gentlemen, because they know exactly what

    9    the incident was that they were getting called for.          It was

   10    about that time that Qualls pulled Nicolas out of the

   11    holding cage and beat him and sucker punched him and kicked

   12    him to the floor.

   13              There's one other piece about the defendants'

   14    testimony that I think is important to this interaction, and

   15    that is something that I actually almost missed.         When Lang

   16    got up on the stand, she told you she doesn't remember

   17    anything; she just remembers she got a call about an inmate

   18    coming to segregation that needed to be seen.         That story is

   19    totally inconsistent with Qualls's story.        Qualls says, "The

   20    injury doesn't happen until we're already on our way to

   21    seg."   So how can that be?

   22              Lang, who's in segregation -- she's assigned to the

   23    segregation unit -- gets a call there's someone coming and

   24    he needs to be seen.     Well, ladies and gentlemen, that's

   25    because Qualls knew, when Osbaldo left segregation, that he


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 44
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 45 of 92 Page ID #1759


    1    was injured and he needed to be seen, and he knew because he

    2    was the one who had injured him.       Now, Defendant Lang told

    3    you that she didn't remember, she didn't remember about what

    4    had happened, and Osbaldo told you about what happened, and

    5    Osbaldo told you about how she didn't do any exam of the

    6    injuries he was talking about, but she did document a few

    7    things that are important.      The injuries that she documents

    8    are just inconsistent, plain and simple, with the story

    9    Qualls tells:    "My left wrist hurts, my right jaw hurts."

   10    And as we see, Lang notes an abrasion to the left side of

   11    the forehead.    So, Qualls explains the abrasion this way:

   12    "He's walking, Nicolas is walking with his handcuffs, and he

   13    must have fallen.     I didn't see him hit his head, but he

   14    must have hit his head like this."       Maybe that explains the

   15    abrasion, but then how do you get right jaw pain?          Okay.

   16    Maybe, instead, he hit his head like this, but how does he

   17    get this abrasion?     These injuries are inconsistent with

   18    Qualls's story slipping and falling on ice.         The evidence

   19    and common sense will tell you that Mr. Osbaldo didn't slip

   20    and fall on ice, he was beaten.

   21              Now, when you're considering these jury

   22    instructions that Judge Rosenstengel read to you, I want you

   23    to remember what the burden of proof is here.         The burden of

   24    proof is not beyond a reasonable doubt, Judge Rosenstengel

   25    made that clear.     The burden of proof is a preponderance of


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 45
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 46 of 92 Page ID #1760


    1    the evidence, and what that means is that you put all of

    2    plaintiff's evidence on one hand, put all of the defendants'

    3    evidence on the other hand, and you see which way it tilts.

    4    If it tilts toward plaintiff, that's enough.         And I think

    5    the evidence tilts pretty heavily, but even tilting a little

    6    bit means that on the claims we win.

    7              So let's go through each of the claims.        The first

    8    is an excessive force claim.      The evidence showed that if

    9    there was a sucker punch, that itself is excessive force

   10    because every single defendant admitted to you, and Warden

   11    Harrington admitted to you, too, that anything else that

   12    happened on February 5th, 2014 was no reason to use force.

   13              So one of the things -- sorry.       This is the wrong

   14    one.    One of the things you're going to be asked to

   15    determine is whether the use of force was for the purpose of

   16    harming Mr. Nicolas, and then you've got a big paragraph

   17    that talks about how you consider whether the purpose was

   18    harming, but that's not in dispute here.        If the sucker

   19    punch happened, everybody agrees that the purpose was harm.

   20    If the kicks happened, everyone agrees that the purpose was

   21    harm.   And that conduct did harm Mr. Nicolas.

   22              Mr. Nicolas testified about his injuries and

   23    there's been absolutely no evidence to rebut that.          In fact,

   24    the medical records which you have in evidence show that he

   25    was injured.    And, of course, the excessive force claim


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 46
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 47 of 92 Page ID #1761


    1    doesn't require us to prove some serious, long-lasting

    2    permanent injury, although Mr. Nicolas told you and you saw

    3    on the stand how difficult it was, and the mental and

    4    emotional injuries he continues to suffer as a result of

    5    this beating.    But that's not required for us.       The evidence

    6    already in the medical records is sufficient proof for this

    7    part of the claim.

    8              The only question is whether there was an

    9    intentional use of force.      Defendants are not going to argue

   10    that Lieutenant Qualls accidentally sucker punched

   11    Osbaldo Nicolas, and we think the evidence is clear that

   12    there was a sucker punch for all of the reasons I've already

   13    told you about.    And so as to this claim, and as against

   14    Lieutenant Qualls, the evidence is for plaintiff, and you

   15    should find for plaintiff on the excessive force claim

   16    against Qualls.

   17              Let's talk about Berry.      As I said before, there

   18    was testimony by Mr. Nicolas that he honestly believes that

   19    it was Berry who beat him, and there was testimony from

   20    Edgar Diaz and Clayborn Smith that was a little different

   21    than that, so, ladies and gentlemen of the jury, it will be

   22    up to you to determine whether Mr. Berry used excessive

   23    force and was part of the beating against Mr. Nicolas or

   24    simply failed to intervene to stop it.        That will be

   25    something that you will have to determine and it's something


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 47
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 48 of 92 Page ID #1762


    1    that I know you will take seriously.

    2              I want to talk about the next claim, and that is a

    3    failure to intervene claim.      That is the reason that Officer

    4    Purdom and Officer Snell are in the courtroom, because they

    5    saw the beating, they were involved in the beating.          They

    6    told you that they were right there on February 5th when the

    7    lines were moving and Mr. Nicolas was in the holding cage,

    8    and they all testified that they would have seen the beating

    9    occur.    Defendants are in furious agreement with plaintiff

   10    on that point, so what you'll have to find is, first, that

   11    excessive force was used, and we've gone through that.          Then

   12    you'll have to find that the defendant knew that excessive

   13    force was being used or about to be used.        What this

   14    requires you to think about is whether they knew that there

   15    was going to be punches thrown.       You know, honestly,

   16    probably no one knew about the first sucker punch.          I don't

   17    think even Mr. Nicolas knew about it.        He didn't see it

   18    coming.   So maybe you find, you know, these defendants, they

   19    didn't know about that first sucker punch.         But that wasn't

   20    the end of the beating, ladies and gentlemen.         The beating

   21    continued for five to eight minutes afterward, and certainly

   22    defendants knew at that point that the beating was ensuing.

   23    They knew what was happening when Qualls drug Mr. Nicolas

   24    over to the shower area.      They knew what was happening when

   25    Sergeant Qualls ordered Diaz to face the wall.


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 48
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 49 of 92 Page ID #1763


    1              The next prong will require you to consider whether

    2    they had a realistic opportunity to do something.          Again,

    3    there's five to eight minutes there.        There's clearly an

    4    opportunity.

    5              Next, you'll be asked whether to determine that

    6    they failed to take reasonable steps.        And this, I think,

    7    comes down to the chain of command.       They knew that they had

    8    a responsibility, and they failed to take reasonable steps

    9    because they were following chain of command.         But, ladies

   10    and gentlemen, under the law that is not an excuse.          You

   11    cannot say that your supervisor beat someone up so you don't

   12    have to act.    That is not an excuse under the law, and you

   13    should find that they failed to take reasonable steps as

   14    they watched the beating occur.

   15              And then as to the fifth prong, there can just be

   16    no doubt, the defendants' failure to act caused harm, and

   17    Mr. Nicolas again told you about that harm.         And so in our

   18    mind, it's clear that the beating that occurred on

   19    February 5th, 2014, each of these defendants is responsible

   20    for failing to intervene to stop it.

   21              The next claim that you're going to be asked to

   22    consider is a denial of medical care claim.         And I just want

   23    to run quickly through this because I know you all are

   24    anxious to get to the next part of this.        So the first part

   25    is about whether he had a serious medical need, and he told


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 49
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 50 of 92 Page ID #1764


    1    you about the pain he suffered, and that's enough.

    2              The next question is about whether or not the

    3    defendant was aware.     Let me just break down very quickly

    4    what our claims are against each of these defendants.

    5    Purdom and Snell and Berry each admitted that when Osbaldo

    6    left the cellhouse they didn't know whether or not he was

    7    going to receive any medical care, and yet, knowing that he

    8    had been beaten, knowing that he was injured, they failed to

    9    take any steps whatsoever to provide him medical care.          That

   10    is -- that is enough to prove our failure to provide access

   11    to care as to Defendants Purdom and Snell and Berry.

   12              And, lastly, with respect to Qualls, he actually

   13    did call medical care, so you might think, okay, but what he

   14    told Aimee Lang was not what happened.        He told Aimee Lang

   15    there's a slip and fall on ice, and so for that reason he

   16    failed to provide adequate access to -- access to adequate

   17    medical care by failing to inform Ms. Lang exactly the

   18    severity of his injuries.

   19              And, lastly, on this claim we have a claim against

   20    Aimee Lang herself for failing to provide medical care.

   21    Now, again, serious medical need.       Osbaldo told you about

   22    that.   Defendant was aware that Mr. Nicolas had a serious

   23    medical need, you can see that from her note.         She documents

   24    what he told her, and she takes no steps, according to her

   25    note, according to -- and there's no note to suggest


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 50
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 51 of 92 Page ID #1765


    1    otherwise that she took any steps to evaluate the injuries

    2    he described.    She doesn't take any notes about evaluating

    3    his head injury or his wrist injury.        In fact, she admitted

    4    that he was handcuffed and she at no point asked anyone to

    5    take those handcuffs off to evaluate him.        And the leg

    6    injury, she admitted, "Well, I looked at what I could see."

    7    And we're not even asking you to find a failure to provide

    8    medical care against Lang for failing to treat Osbaldo, to

    9    even provide him a cold pack.       If she had just referred him

   10    to a doctor, fine, but she did not.       She denied him medical

   11    care.   She walked away.     And we know now that he was able to

   12    see a nurse two days later, but Lang didn't know that as she

   13    walked away.    To the contrary, she knew.      She was the one

   14    who walked those galleries and knew that there wasn't an

   15    opportunity for Mr. Nicolas to get medical care in

   16    segregation.

   17              The last claim -- and so for those reasons we think

   18    that there should be a verdict in plaintiff's favor on the

   19    denial of medical care claim to Defendant Lang and to

   20    Defendants Purdom and Snell and Berry and to Defendant

   21    Qualls.

   22              And, lastly, we have a wilful and wanton claim.

   23    I'm not going to go through each of those claims because I

   24    think, as you'll see when you get back there, that claim is

   25    for the same sort of conduct that we've already been talking


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 51
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 52 of 92 Page ID #1766


    1    about.   That claim is for beating Osbaldo, for failing to

    2    intervene in the beating of Osbaldo, and for denying him

    3    medical care.    And you'll see in the judge's instruction

    4    that, if you find for plaintiff on his constitutional

    5    claims, you should also find for plaintiff on his wilful and

    6    wanton claim.

    7              I just want to remind you again that what we need

    8    to prove is not beyond a reasonable doubt, it's not even

    9    clear and convincing evidence.       You put the things on one

   10    hand, you put the things in favor of plaintiff on one hand,

   11    put the things in favor of defendants on the other hand.

   12    Remember, ladies and gentlemen, that you are entitled to use

   13    your common sense and you are entitled to make inferences in

   14    either party's favor.     And when you weigh those things out,

   15    which way does it tilt?      It tilts in plaintiff's favor.      And

   16    when you find for plaintiff, you will go on to consider

   17    compensatory damages.

   18              And, ladies and gentlemen, this is one of the most

   19    difficult parts of the argument for any lawyer because this

   20    is a difficult thing to ask you to do.        The constitution and

   21    our statutes don't allow you to ask the officers to be fired

   22    or disciplined.    They don't allow you to try and address the

   23    harm that Mr. Osbaldo suffered in any way -- Mr. Nicolas

   24    suffered in any way, other than to award him money damages.

   25    And it will be your responsibility, and I know that you will


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 52
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 53 of 92 Page ID #1767


    1    take it seriously, to determine what sort of money will

    2    compensate him for the harm that he suffered on

    3    February 5th, 2014.     And it will be a difficult decision for

    4    you, and you will have to think about what would compensate

    5    him for the sucker punch he suffered and the slamming of his

    6    head into the wall and the blows to his body and the kicks

    7    to his groin and the kicks to his legs and the kicks to his

    8    abdomen -- and each one of those is a compensable injury --

    9    and the emotional and mental pain that he felt following

   10    this, the fear that he testified he felt following the

   11    beating that he suffered and being thrown in segregation.

   12    It will be your job to determine the dollar figure that that

   13    violation of his constitutional rights is worth.

   14              And lastly, ladies and gentlemen, you will be asked

   15    to consider punitive damages.       It will be your job to

   16    determine whether in this case punitive damages should be

   17    awarded against the defendants for their conduct, and in a

   18    case like this, punitive damages are appropriate.

   19              You have heard how defendants, over the past

   20    four-and-a-half years, have lied.       They've lied about what

   21    happened, they've lied about what they did to

   22    Osbaldo Nicolas on February 5th, 2014, and yesterday they

   23    came into the courtroom and they lied to you and they lied

   24    to Osbaldo about what they did.       And it is those lies that

   25    tell you a very important fact, and it's a fact that you


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 53
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 54 of 92 Page ID #1768


    1    should consider in determining whether to award punitive

    2    damages:    The likelihood that the defendant would repeat the

    3    conduct if an award of punitive damages is not made.

    4               Ladies and gentlemen of the jury, I think the

    5    defendants' misconduct is exactly the kind of misconduct

    6    that will repeat if you don't award punitive damages.          I

    7    think that it is your responsibility and you should today

    8    award punitive damages to tell defendants that this kind of

    9    behavior is not okay.     We do not sanction, we do not

   10    sanction correctional officers beating up a prisoner to

   11    teach him a lesson.     Prisoners are sent to prison and they

   12    must serve their entire sentence, and we don't expect

   13    correctional officers to be perfect, and we do not expect

   14    them to do every single thing right, but there's something

   15    that we expect them not to do as members of the community,

   16    and that is to beat prisoners for the purpose of punishing

   17    them, of harming them, of teaching them a lesson.          And,

   18    ladies and gentlemen of the jury, I think that you should

   19    award a punitive damages amount that is high enough that it

   20    sends a message, that it makes it in the papers to tell

   21    correctional officers that if they beat prisoners up to

   22    punish them that that will not be tolerated in this

   23    community.

   24               And you'll see on the verdict form the place where

   25    you will be permitted to award punitive damages, and you'll


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 54
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 55 of 92 Page ID #1769


    1    have to consider them against each of the individuals

    2    individually, and you should.       Sergeant Qualls, as we've

    3    told you, sucker punched Osbaldo.       He was in charge.     He ran

    4    the show.    And the other officers are just as culpable.

    5    They stood by while this beating occurred and they did

    6    nothing, they didn't even say "stop."        Instead, they got up

    7    here, they followed the line, and they lied to you, and

    8    that's worth punitive damages.

    9              Ladies and gentlemen, I'm going to sit down now.

   10    Thank you very much for your time.       I want to leave you with

   11    one final thought, and that is the jury instruction that

   12    Judge Rosenstengel read to you early on:        All parties are

   13    equal before the law and entitled to the same fair

   14    consideration.    I expect, at the end of this case, what you

   15    will be asked by the defendants is to believe them because

   16    they wear a badge on their uniform.       That is not what we do,

   17    that is not how we do things in a court of law, ladies and

   18    gentlemen.

   19              Everybody is entitled to the same fair

   20    consideration, and Mr. Nicolas thanks you for taking that

   21    responsibility seriously.      Thank you.

   22              THE COURT:    All right.    Thank you, Ms. Grady.

   23              Ladies and gentlemen, let's take about a 15-minute

   24    break.   I'm sure you could probably use it and I know the

   25    interpreter and court reporter can.       Fifteen minutes and we


         Nicolas vs. Berry, #15-964
         Plaintiff's Closing Argument                8/16/18 - Vol. 3/Pg. 55
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 56 of 92 Page ID #1770


    1    will resume with the defendants' closing argument.

    2         (Jury out)

    3              THE COURT:    Ms. Grady, I didn't ask you before, but

    4    do you want to give a brief rebuttal?

    5              MS. GRADY:    Yes, but it will be very brief.

    6              THE COURT:    We'll plan to resume at 10:00.

    7         (Court recessed from 9:51 a.m. to 10:07 a.m.)

    8         (Jury in)

    9              THE COURT:    Mr. Tyrrell, you may now give the

   10    defendants' closing argument.

   11                      DEFENDANTS' CLOSING ARGUMENT

   12              MR. TYRRELL:    Thank you, Your Honor.      May it please

   13    the Court, Counsel, ladies and gentlemen of the jury.

   14              Officer Young, Officer Griffin, Officer Furlough,

   15    multiple medical professionals, multiple different

   16    correctional officers in the West cellhouse, in the North 2

   17    cellhouse, Sergeant Berry, Sergeant Snell, Officer Purdom,

   18    Lieutenant Qualls, and Nurse Lang.       Are you to believe

   19    plaintiff's story, these are all people you must believe

   20    were out to get plaintiff?      Plaintiff wants you to believe

   21    there's a conspiracy among all these different people, among

   22    multiple different shifts, among multiple different areas of

   23    the prison, in security and nonsecurity positions:          They're

   24    out to get the plaintiff.      And he wants you to believe this

   25    story and he wants you to award him money.         I ask that you


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 56
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 57 of 92 Page ID #1771


    1    carefully consider the evidence.       By doing so, I believe

    2    you'll find in favor of the defendants.

    3               Good morning.    As I've told you throughout the

    4    trial, my name is Jeremy Tyrrell, and I, along with

    5    co-counsel Joseph Bracey, represented these correctional

    6    staff and Nurse Lang during this trial this week.

    7               As plaintiff's counsel indicated, we also thank you

    8    for your time today.     We understand it's an inconvenience.

    9    We can't do our jobs as attorneys or judges or as plaintiffs

   10    or defendants without you here because, as the judge told

   11    you on the first day, this case comes down to, who do you

   12    believe?    And it's only your decision to make.

   13               I want to talk to you for a moment about the

   14    plaintiff's story.     You just heard from his attorney in

   15    great detail.    I don't want to say and repeat everything

   16    that she said but I want to point out some confusing details

   17    that at least I noticed during this trial.

   18               So, plaintiff first wants you to believe that

   19    Lieutenant Qualls, who was then a sergeant at the time,

   20    sucker punched him.     I asked him repeatedly, "Where did this

   21    take place?"    He wasn't able to say if it was inside a

   22    holding cage, outside the holding cage, or somewhere in

   23    between.    He doesn't recall.

   24               He wants you to believe that Officer Berry slammed

   25    his head into the shower door, into concrete, and that


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 57
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 58 of 92 Page ID #1772


    1    Sergeant Berry, who's an officer at the time, Lieutenant

    2    Qualls, then proceeded to beat him senselessly in the

    3    shower.   And plaintiff wants you to believe that Officer

    4    Purdom, Officer Snell were present for this altercation

    5    between Lieutenant Qualls and Sergeant Berry and the

    6    plaintiff, and they did nothing.

    7              And you heard from the other witnesses:        These

    8    weren't the only two correctional officers out there.          There

    9    was numerous other correctional officers.        I believe it was

   10    Mr. Diaz who said somewhere around ten correctional officers

   11    were in that area when this altercation apparently happened,

   12    all people that apparently sat there, watched Mr. Nicolas be

   13    repeatedly beat and did nothing.       You heard from the

   14    defendants.    They wouldn't have done that.       It was the job

   15    of each and every correctional officer there that day to

   16    report it up the chain of command.       They had a duty, even if

   17    it was a sergeant and they were officers, to tell someone at

   18    the prison about what happened that day.        And you've heard

   19    no evidence of anyone putting any reports about an incident

   20    happening that day.     Why?   Because it simply did not happen.

   21    February 5th, 2014 was just another day at Menard

   22    Correctional Center.

   23              I want to talk about Nurse Lang for a moment.          She

   24    wasn't present for February 5th, 2014 in the West cellhouse,

   25    and plaintiff doesn't dispute that.       She was in a different


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 58
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 59 of 92 Page ID #1773


    1    part of the prison.     She was in the North 2 cellhouse.

    2    She's a medical professional.       It's her job to treat inmates

    3    at Menard Correctional Center.       To believe plaintiff, you

    4    have to believe that this medical professional lied in her

    5    medical reports and was in a conspiracy with everyone else.

    6    Simply does not make sense.

    7              To support his claims, you heard from Inmate Smith,

    8    Inmate Diaz.    Now, Smith, he said, and I quote, "His view of

    9    what happened was as clear as if it was on a TV."          He had a

   10    mirror outside his cell.      He said he could see everything as

   11    clear as it was on TV, as we saw him testify on video

   12    yesterday.    He says he heard plaintiff got struck in the

   13    midsection.    Hold on.   The plaintiff said he got sucker

   14    punched in the jaw.     So if he could see as as clear as he

   15    said he could, how is it that Mr. Nicolas claims he got hit

   16    in the jaw and Mr. Smith says, you know, Mr. Nicolas got

   17    punched in the midsection?      Mr. Smith also added a second

   18    punch.   We never heard that from Mr. Nicolas.

   19              You heard Mr. Smith say he couldn't see what

   20    happened in the shower.      Rather, he just said he heard

   21    everything.    Somehow Mr. Smith, in a cellhouse with

   22    approximately 500 inmates, heard a beating in the shower

   23    area.    And you saw the diagram.     It's fairly far down the

   24    hall from where Mr. Smith is located.        How is he able to

   25    hear in great detail it was Mr. Nicolas crying and repeated


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 59
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 60 of 92 Page ID #1774


    1    beatings in that shower area?       I have no idea.

    2              I have to apologize.      I made a mistake for a second

    3    there.   I said that he heard Mr. Nicolas crying.        Mr. Smith

    4    never said that.     Someone told Mr. Smith what happened that

    5    day, and he refused to tell you who told him what happened

    6    that day.    You heard Mr. Smith.     He claims he doesn't know

    7    Mr. Nicolas, he claims he doesn't know Mr. Diaz, but somehow

    8    he was able to get their names, their IDOC numbers, and

    9    various other details of what happened on February 5th, 2014

   10    without ever knowing them.      When he was asked who told him

   11    this information, he flat out refused to tell you.          How can

   12    you trust a word that Mr. Smith said when he won't tell you

   13    how he got any of his information?

   14              I do want to point out, too, just in case it was

   15    lost:    Mr. Smith and Mr. Nicolas were in the same cellhouse.

   16    Yes, they were at different sides on February 5th, 2014, but

   17    you also heard evidence they were on the same side of the

   18    cellhouse.    They could have went to the yard together, they

   19    could have went to gym together, they could have even had

   20    meals together.    They could have known each other and

   21    Mr. Smith might have been lying to you yesterday.

   22              I want to talk about Mr. Diaz.       You heard Mr. Diaz

   23    say he was the cellmate of Mr. Nicolas.        Clearly, Mr. Diaz

   24    and Mr. Nicolas knew each other.       And Diaz also testified

   25    differently than what the plaintiff testified to two days


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 60
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 61 of 92 Page ID #1775


    1    ago.   He also said he saw two punches.       And now Mr. Diaz

    2    says Officer Berry, now Sergeant Berry, he had no

    3    involvement whatsoever.      He was in the cage.     Didn't punch

    4    the plaintiff, didn't kick the plaintiff, didn't take him to

    5    the shower area.     Doesn't match up with plaintiff's story.

    6               You also heard Mr. Diaz say he couldn't see into

    7    the shower area.     He also had to rely upon hearing, hearing

    8    punches from down the hall in a cellhouse full of about 500

    9    inmates.    Now, Mr. Diaz did have one really important detail

   10    that wasn't brought up a couple minutes ago by plaintiff's

   11    counsel.    Mr. Diaz also witnessed Mr. Nicolas fall on the

   12    way to segregation.     You heard him.    Now, he disputes

   13    that -- Mr. Diaz disputes there was ice on the ground that

   14    day but he readily admitted that he saw Mr. Nicolas fall to

   15    the ground.    Exactly corresponds with Lieutenant Qualls's

   16    incident report and actually what happened that day.

   17               Now, plaintiff's counsel asked you a question of,

   18    why do you think -- or why would Mr. Smith and Mr. Diaz help

   19    Mr. Nicolas?    I offer this answer:     Either knew each

   20    other -- in the case of Mr. Diaz and Mr. Nicolas, they're

   21    both cellmates -- or they're just looking out for another

   22    inmate at Menard Correctional Center.        They're working

   23    together.    And, as I said, we don't know where Mr. Smith got

   24    his information from.

   25               I want to talk about a couple other things that


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 61
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 62 of 92 Page ID #1776


    1    plaintiff's counsel brought up just a moment ago.

    2    Plaintiff's counsel brought up that Lieutenant Qualls was a

    3    little defensive when he was testifying yesterday.          I agree,

    4    he was a little defensive.      Now, I've never been on that

    5    side of the witness stand but I'm used to being on this side

    6    and asking people questions.      It's a frustrating experience

    7    for someone to repeatedly ask you the same questions and

    8    accuse you of lying.     I understand why he got defensive that

    9    day.   It's hard to sit there and have someone say that

   10    you're a liar when you're simply trying to do your job.

   11              And, now, you also heard evidence from plaintiff's

   12    counsel that because of these investigational interviews,

   13    that clearly shows a conspiracy among the defendants because

   14    they all use the word "compliant".       I want to show you some

   15    other similarities in these investigational interviews.          So

   16    here's three of them.

   17              You'll notice that all these interviews talk about

   18    the same person, Lt. Reichert.       You heard testimony by way

   19    of his deposition that he was the lieutenant in

   20    Internal Affairs.     It was his job to investigate allegations

   21    of excessive force.     He wasn't there to investigate

   22    accidents, he wasn't asked to investigate a simple case of

   23    slipping and falling on the ice; he was there to investigate

   24    and talk to these defendants and these correctional staff

   25    members if they used excessive force as Mr. Smith alleged


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 62
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 63 of 92 Page ID #1777


    1    that day.

    2              I want to direct your attention to the second page

    3    on each of these statements.      I want to zoom in at the very

    4    top line at the top of these investigational interviews.           I

    5    want to direct your attention to this line right here:

    6    "Interviewee substantially stated."       This isn't meant to be

    7    a dictation of what was said today.       Lt. Reichert's not a

    8    court reporter.    It wasn't his job to take down exactly what

    9    each of these defendants say.       You've heard no evidence that

   10    these defendants, when interviewed, used the word

   11    "compliant".    That could have been Lt. Reichert's word.

   12    They may have said something along the lines of being

   13    compliant.    They could have said they disobeyed one order

   14    and followed the next order.      That means compliant to me.

   15    You heard from one of the officers that that meant compliant

   16    to them, too, that an offender can disobey one order but

   17    then obey other orders.      There was the case where

   18    Mr. Nicolas disobeyed the direct order by interfering the

   19    line and refusing to sit down.       You heard Mr. Nicolas admit

   20    that he accepted the order to turn around, cuff up, and be

   21    walked to segregation.      That sounds compliant to me.

   22              And, now, plaintiff's counsel also talked about

   23    these inmates in the school line that are missing from

   24    certain incident reports.      You saw the evidence.     You know

   25    that disciplinary tickets were written.        That's how it works


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 63
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 64 of 92 Page ID #1778


    1    in prison life.    An offender violates a prison rule, they

    2    receive a disciplinary ticket.       And those disciplinary

    3    tickets said line movements were occurring at that time.           It

    4    matches up with these investigational interviews and these

    5    summaries.    Line movements were happening.       This event

    6    couldn't have happened in the shower because the line

    7    movement was in there.      And you heard about the safety and

    8    security concerns of having a restrained inmate --

    9    Mr. Nicolas was restrained -- in the shower area with a

   10    bunch of unrestrained inmates.       That's a safety and security

   11    concern for Mr. Nicolas as well as for the officers that

   12    were in the shower with him, if they were.

   13              Before I summarize what the defendants have talked

   14    about the past couple days and what actually happened on

   15    February 5th, 2014, the days after, I want to turn to one

   16    more thing plaintiff's counsel said to you.         And I want to

   17    show you this jury instruction that the Court read to you:

   18    "The defendants are being sued as individuals.         Neither the

   19    State of Illinois nor the Illinois Department of Corrections

   20    is a party to this lawsuit."

   21              Plaintiff's counsel has repeatedly said throughout

   22    this trial and today that they should have done more

   23    interviews, the interviews are bad, they should have asked

   24    more facts, there should have been more of an investigation

   25    done.   Why didn't they talk to Mr. Nicolas or Mr. Diaz or


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 64
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 65 of 92 Page ID #1779


    1    Mr. Smith?    None of these defendants were involved in the

    2    investigation.    They were simply doing their job on

    3    February 5th, 2014, and cooperated in the investigation.

    4    Lt. Reichert's not a defendant.       Warden Harrington's not a

    5    defendant.    Commander Plunk, person in Springfield who sent

    6    the letter to Warden Harrington, is not a defendant.          You

    7    can't hold these people sitting at this table liable for

    8    anything those people might have done.        They're not being

    9    sued.   You can only consider what these five men and women

   10    did.

   11              I know it's been a long couple days.        I promise to

   12    be as brief as I can; that way you have time to consider

   13    your decision.

   14              I want to talk about what actually happened on

   15    February 5th, 2014, and the days after.        You heard from the

   16    defendants, it was a regular day at work.        A routine

   17    shakedown of Mr. Diaz and Mr. Nicolas's cell happened on

   18    February 5th, 2014.     Items were found that were against

   19    prison rules, namely hooch, which is what we learned

   20    throughout this trial is alcohol made inside -- or

   21    intoxicant made inside the cell.       A disciplinary ticket was

   22    issued for that.

   23              Now, when their cell's being searched, the

   24    offenders have to go someplace else, that way the officers

   25    can accurately check the cell.       They were in the holding


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 65
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 66 of 92 Page ID #1780


    1    cage that day.    You heard from the officers that because of

    2    the line movement, more officers were on opposite sides of

    3    the cellhouse than the other.       They put Mr. Diaz and

    4    Mr. Nicolas in the holding area that officers keep an eye on

    5    to make sure they don't harm themselves or others.

    6              While these line movements were going on you heard

    7    and saw the disciplinary reports showing that Mr. Nicolas

    8    and Mr. Diaz were holding up these line movements by talking

    9    to people.    They were slowing them down.      They weren't

   10    following the prison rules.      Now, plaintiff's counsel wants

   11    to suggest that because they interfered with line movement,

   12    because Mr. Nicolas initially refused to sit down, that

   13    Lieutenant Qualls and perhaps some of the other

   14    defendants -- we're not exactly sure who -- became upset

   15    enough that they started to assault Mr. Nicolas.         That idea

   16    is absurd.    These correctional officers and sergeants and

   17    lieutenants had a way to control an inmate who's not

   18    following orders and not obeying prison rules:         They write a

   19    disciplinary ticket.     It's part of prison life.      Then when

   20    you violate a rule, you also go to segregation.

   21              You heard, Mr. Diaz said he's been in segregation a

   22    number of different times, I think he said over five, maybe

   23    more.   That's just how it works in prison.        There's no need

   24    to senselessly beat, kick, punch an inmate because they

   25    broke a rule.    That wouldn't happened.      It doesn't make


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 66
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 67 of 92 Page ID #1781


    1    sense.

    2              Now, you also heard from Lieutenant Qualls.         They

    3    were walking to segregation with Mr. Nicolas first week in

    4    February.    It can be pretty cold in Illinois, in the

    5    midwest, in the first week of February.        He claims there was

    6    ice on the ground, and there was ice on the ground that day,

    7    and they slipped on it.      And Lieutenant Qualls recognizes

    8    that and remembers that because he also went down with

    9    Mr. Nicolas.    That was something unusual for him to do.        It

   10    has to be an unusual experience to be walking someone and

   11    you slip and fall on the ice.       And if you slipped and fall

   12    on the ice before, sometimes, you know, it hurts a little

   13    bit, you might get bruising, and especially when your hands

   14    are handcuffed behind your back.       You can't but put them out

   15    to brace for yourself or you're going to fall face first.

   16              Because of this fall, you heard that Nurse Lang was

   17    contacted.    Now, plaintiff's counsel said, Oh, I just

   18    realized today, how could Lieutenant Qualls possibly have

   19    called Nurse Lang?     I don't think Lieutenant Qualls ever

   20    said he personally called Nurse Lang.        Said Nurse Lang was

   21    notified, Nurse Lang was called.       People have radios.     This

   22    is prison.    There's walkie-talkies.     There's methods of

   23    communicating to healthcare staff when people are coming

   24    into an area to evaluate an offender.        Plaintiff's counsel

   25    wants you to believe, no, that can't happen, this must have


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 67
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 68 of 92 Page ID #1782


    1    been a pre-planned conspiracy, and somehow as part of this

    2    conspiracy we're going to make sure he got medical attention

    3    and saw the nurse.

    4               I want to talk about Nurse Lang's interaction with

    5    Mr. Nicolas.    She saw him.    You heard Nurse Lang.      She's an

    6    LPN.   She's educated.    She knows how to treat someone simply

    7    having an abrasion on the forehead.       That's all she saw that

    8    day.   She notes no bleeding, no swelling, no bruising, no

    9    bleeding, no deformities noted to right jaw, left wrist, or

   10    thighs, no apparent signs of distress noted, no other

   11    injuries noted.    That's what she saw that day, a slight

   12    abrasion, a superficial abrasion.       That doesn't warrant --

   13    that's not a serious medical need.       It's just that it's a

   14    superficial, very small abrasion.

   15               You also heard from Mr. Nicolas that he was

   16    initially uncooperative.      He claims he had injuries around

   17    his private parts and he initially refused to show

   18    Nurse Lang.    This other report, also in evidence that you

   19    can see, reflects that:      "Unable to assess certain locations

   20    because uncooperative."      Nurse Lang also noticed this

   21    witnessed by Officer McMillan -- I forgot his name from my

   22    earlier statement -- another officer you have to believe was

   23    in a conspiracy to violate Mr. Nicolas's rights.

   24               Plaintiff's counsel showed you more medical

   25    records.    She showed you this one from February 7th, 2014,


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 68
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 69 of 92 Page ID #1783


    1    where a different nurse evaluates the plaintiff and notes

    2    that there was some swelling, some alteration, some numb --

    3    some reported numbness and some alteration of range of

    4    motion.   As I pointed out though, doesn't say "staff

    5    assault".    Plaintiff's counsel wants you to believe there's

    6    another nurse who's in a conspiracy to get Mr. Nicolas.          She

    7    wants you to believe that this trained medical professional

    8    lied on this medical document.       What incentive would this

    9    medical professional have to lie on a medical document of

   10    one of her patients?     She wouldn't.

   11              I also noticed this two days later.        Who knows how

   12    he got these injuries?      Two days passed from when Nurse Lang

   13    saw the plaintiff until this nurse saw the plaintiff.          You

   14    heard from Nurse Lang, people walk through the cellhouse all

   15    the time.    You had a nurse or medical professional each

   16    shift walk down each of those galleries three times a day.

   17    How many nurses had to have walked past Mr. Nicolas's cell

   18    and ignore his plight for you to believe plaintiff's story?

   19              I want to show you the -- this was the February 28,

   20    2014.   This is where Mr. Nicolas complains to the nurse, "I

   21    have two hernias in my left groin, hurts bad."         This

   22    document says, "Has he had this pain before, and how was it

   23    treated?"    No.   No, he hadn't had this pain before.        Now, we

   24    don't know exactly what he meant by that but at least from

   25    here looks like he reported that he didn't have this pain


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 69
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 70 of 92 Page ID #1784


    1    before.

    2              Plaintiff's counsel did show you this March 7th,

    3    2014 medical doctor note, M.D. report.        This was a month

    4    later.    You've heard no medical professional or no one else

    5    tell you that somehow an altercation on February 25th, 2014,

    6    or slipping and falling on the ice on February 25th, 2014

    7    caused this injury that the plaintiff reported first on

    8    February 28, 2014 to this nurse.       You've heard absolutely no

    9    evidence tying that together, but plaintiff wants you to

   10    believe that somehow nearly a month later this altercation

   11    caused this hernia.     You've heard absolutely no evidence of

   12    that.

   13            Now, plaintiff's counsel showed you the jury

   14    instructions.    I apologize in advance because I know it's

   15    now the third time you've had to see these instructions.

   16    I'm sure you'll have to look at them when you go back to

   17    deliberate as well, and I'm going to have to show them to

   18    you one more time, I promise.       I'm only going to show them

   19    to you once, and I'll be brief, I promise.

   20            In addition to what I told you earlier about not

   21    holding these five individuals liable for what someone else

   22    may or may not have done, I want to show you this

   23    instruction:    "You have heard evidence about whether

   24    defendant's conduct complied with the internal policies and

   25    procedures of the Department of Corrections."         You can


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 70
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 71 of 92 Page ID #1785


    1    consider this, but this isn't the central issue:         The

    2    central issue here is whether or not you believe plaintiff's

    3    story or the defendants telling you what happened on these

    4    days.    To the extent Lieutenant Qualls wrote the wrong date

    5    and time on his incident report, and that may have violated

    6    IDOC policy and procedures, you can't hold him liable for

    7    making a mistake in his incident report.

    8            I want to briefly show you the other jury instructions

    9    and show you exactly why you should find in favor of the

   10    defendants.    This is the excessive force allegation against

   11    Berry and Qualls.     Now, it seems that plaintiff's counsel --

   12    and plaintiff doesn't really have an issue with Berry any

   13    more.    I'm not exactly sure since it's an excessive force

   14    claim, probably because the witnesses somehow didn't match

   15    up with the plaintiff's story, but, "To find for the

   16    plaintiff, you need to show that Berry or Lieutenant Qualls

   17    used intentional force on Mr. Nicolas."        You haven't heard

   18    any credible evidence to support that.

   19            The failure to intervene claim against all the

   20    correctional staff members, first element:         "Excessive force

   21    was used on Mr. Nicolas on February 5th, 2014."         As I just

   22    said, no credible evidence of that.       You can't find in favor

   23    of plaintiff on -- I ask that you not find in favor of

   24    plaintiff on his failure to intervene claim, medical claim.

   25            Now, the second element is that the defendant has to


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 71
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 72 of 92 Page ID #1786


    1    be aware that Mr. Nicolas, the plaintiff, had a serious

    2    medical need.    There was no use of force.      There was no

    3    reason why any of these correctional officers, specifically

    4    Sergeant Berry, Sergeant Snell, or Officer Purdom, were

    5    aware of any serious medical need.       Defendant's story

    6    though, Lieutenant Qualls and what actually happened that

    7    day, is that plaintiff went down to the ground and fell on

    8    the ice.    That could have been a serious medical need.        So

    9    what did he do?    He took the reasonable measure of making

   10    sure Mr. Nicolas was seen by Nurse Lang.        You heard from

   11    Lieutenant Qualls, he's not a medical professional, he's not

   12    a nurse, he's not a doctor, so he took the reasonable step

   13    of making sure the trained LPN med tech saw Mr. Nicolas

   14    after a slip and fall on the ice.       He did his job that day.

   15           And you heard from Nurse Lang, she also did her job

   16    that day.    The sentence, "If the defendant provided some

   17    care, Mr. Nicolas must show that the defendant knew his or

   18    her actions likely would be ineffective, the defendant's

   19    actions were clearly inappropriate."        Nurse Lang is a

   20    trained medical professional.       She looked at the plaintiff

   21    on February 5th, 2014.      She noted a slight superficial

   22    abrasion on his left forehead near his hairline.         She

   23    examined him for bleeding, swelling, other deformities.          She

   24    didn't observe anything.      A slight superficial abrasion, in

   25    her medical opinion, did not warrant Mr. Nicolas seeing the


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 72
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 73 of 92 Page ID #1787


    1    doctor that day.     I find that you also find in favor of the

    2    defendants in the adequate medical care claim.

    3            Now, the last claim, plaintiff's counsel also said,

    4    "To find in favor of plaintiff on one of these claims you

    5    must have found against the defendants on one of the other

    6    claims."   As I just told you, the evidence shows that you

    7    should find in favor of defendants on all the claims.          I ask

    8    that you also find in favor of defendants in this claim

    9    because plaintiff can't show any of his rights were violated

   10    by the defendants.

   11            Lastly, plaintiff's counsel showed you the verdict

   12    form.    I just want to make it clear.      If you carefully

   13    examine the evidence and you find that plaintiff has failed

   14    to meet his burden to prove his claims against each and

   15    every one of these defendants here, then you, as the jury,

   16    can find in favor of defendants.       And you do so, as the

   17    instruction will tell you, by placing an "X" in the line of

   18    the person you find for, just as I'm doing right now.

   19    Instruction will tell you, since you found in favor of the

   20    defendants on all counts, you are to skip the compensatory

   21    damages line, punitive damages lines, and to proceed to sign

   22    and date the verdict form.

   23            And I ask that you, ladies and gentlemen of the jury,

   24    carefully consider the evidence, as I know you will.          I ask

   25    that you find in favor of the defendants on all counts and


         Nicolas vs. Berry, #15-964
         Defendants' Closing Argument                8/16/18 - Vol. 3/Pg. 73
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 74 of 92 Page ID #1788


    1    not award plaintiff any money damages for his story.

    2           Again, I appreciate your time and consideration.

    3    Thank you.

    4              THE COURT:    All right.    Thank you, Mr. Tyrrell.

    5              Now, ladies and gentlemen, as I told you early on

    6    in the case, the plaintiff has the burden of proof, so that

    7    means he has the right to open and close the closing

    8    argument.    So, Ms. Grady will now give a brief rebuttal.

    9                  PLAINTIFF'S REBUTTAL CLOSING ARGUMENT

   10              MS. GRADY:    I will be very brief.      I just want to

   11    address a few of the points that were raised by Mr. Tyrrell

   12    in his closing argument.

   13              The first is that Mr. Tyrrell accused Mr. Nicolas

   14    of conspiring with Mr. Smith, and then said that in order

   15    for our claims to be true, the defendants would have had

   16    themselves to conspire.      Let me be clear.    The only person

   17    in this trial who has used the word "conspiracy" is

   18    Mr. Tyrrell, and I think the evidence is clear that -- just

   19    one minute.

   20              You'll see from the evidence -- we're not talking

   21    about a conspiracy, ladies and gentlemen.        There's

   22    absolutely no way, based on the evidence, for

   23    Osbaldo Nicolas and Clayborn Smith to have conspired unless

   24    what defense counsel is asking you to believe is that months

   25    and months and months in advance of this event


         Nicolas vs. Berry, #15-964
         Plaintiff's Rebuttal Closing Argument 8/16/18 - Vol. 3/Pg. 74
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 75 of 92 Page ID #1789


    1    Clayborn Smith and Osbaldo Nicolas, who both testified very

    2    truthfully that they didn't know each other, were actually

    3    both lying to you and came up with this story in advance

    4    that, some day my cell might be searched; some day when my

    5    cell is searched I am going to blame defendants for this,

    6    something that I'm going to make up out of whole cloth.

    7    There's zero evidence to support that argument.         And there

    8    is zero evidence to support the argument that then they

    9    even -- had they come together with this plan, been able to

   10    communicate with each other after the event to say, okay,

   11    it's time to set that plan in motion, let's accuse these

   12    officers of that stuff.

   13              I think that what's further evidence that they're

   14    telling the honest truth is that they got details a little

   15    bit different.    It's like if you go to a baseball game and

   16    you're sitting in right field and you see this great play.

   17    You go out for beers or tea or coffee afterwards with your

   18    friends and you're like, Man, look at this great play that

   19    we saw.   And your friends who were sitting in left field

   20    say, "No, no, no, that's not how it happened.         It happened

   21    this other way and it was that guy that ran and made the

   22    great save."    It doesn't mean that it didn't happen.        It

   23    means that your different perspectives and you're different

   24    people and so you have a different take on what happened.

   25    And that's what the testimony shows.        There are small and


         Nicolas vs. Berry, #15-964
         Plaintiff's Rebuttal Closing Argument 8/16/18 - Vol. 3/Pg. 75
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 76 of 92 Page ID #1790


    1    sensible details that are a little different between

    2    witnesses testifying about a beating that happened

    3    four-and-a-half years ago.

    4              Ladies and gentlemen of the jury, as I said earlier

    5    this morning, when it comes down to it, defendants are

    6    asking you to believe them because they wear a badge and

    7    people who wear a badge wouldn't do this.        You are entitled

    8    to use your common sense, and the common sense shows that

    9    Osbaldo Nicolas was telling the truth about what happened to

   10    him on February 5th, 2014, and Clayborn Smith told the truth

   11    about what happened on February 5th, 2014, and he told you

   12    about how it was that he wrote the letter and he told you

   13    truthfully about how he got those prisoners' names.

   14              Now, Mr. Tyrrell accused Mr. Smith of withholding

   15    evidence, and he actually pretty honestly told you why he

   16    was withholding that evidence.       He was afraid that the

   17    prisoner who had given him names would be retaliated

   18    against, so he did refuse to give the names in open court in

   19    front of these defendants, the name of the prisoner that he

   20    had asked and who had agreed to give him the names of the

   21    prisoners.

   22              Again, we are not alleging and we do not have to

   23    prove that this is a conspiracy.       What we have to prove is

   24    that when Sergeant Qualls decided to teach Mr. Nicolas a

   25    lesson, the other officers followed chain of command.          They


         Nicolas vs. Berry, #15-964
         Plaintiff's Rebuttal Closing Argument 8/16/18 - Vol. 3/Pg. 76
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 77 of 92 Page ID #1791


    1    testified about chain of command and you heard them testify

    2    about what they would do if the beating had happened.          And,

    3    ladies and gentlemen, that "would do" did not include

    4    stopping the beating.     That was a telling admission, I

    5    think.

    6              Mr. Tyrrell mentioned the Internal Affairs

    7    interviews as being Lt. Reichert's product, but as every

    8    defendant admitted, they reviewed them carefully and they

    9    signed them and they took that responsibility seriously.

   10              Mr. Tyrrell also said that there's no evidence that

   11    Sergeant Qualls was the one who contacted Ms. Lang on

   12    April 5th, 2014, but as you'll see in Exhibit 7, which

   13    you'll have back with you, she's the one who writes down

   14    Qualls is the person reporting this injury.         And Qualls

   15    admitted on the stand, and you'll recall, based on your own

   16    memory and your perception of the testimony, that he at

   17    first said, "I don't know if I told them."         And then we went

   18    and talked about his deposition testimony and he admitted

   19    that he testified in his deposition that it was him who told

   20    Ms. Lang.

   21              I want to talk about Ms. Lang's note about the

   22    "uncooperative".     Ms. Lang admitted to you that she couldn't

   23    tell you why, what the circumstances were that led her to

   24    make that note, and she has no memory of it today.          She

   25    doesn't know whether Mr. Nicolas was uncooperative because


         Nicolas vs. Berry, #15-964
         Plaintiff's Rebuttal Closing Argument 8/16/18 - Vol. 3/Pg. 77
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 78 of 92 Page ID #1792


    1    he didn't answer questions, because she couldn't communicate

    2    with him because of the language barrier or because he was

    3    lying on the ground unable to get up.

    4               You also heard some argument about the medical

    5    records.    And just to be clear, you'll remember the

    6    testimony -- and I know you all have taken really good notes

    7    about the testimony as well.      You'll remember that

    8    Mr. Nicolas testified that after the beating he had two

    9    purple spheres on his body; that's what the translation was

   10    anyway, that there were two purple spheres.         That's entirely

   11    consistent with what a month later the staff notes are lumps

   12    on his groin.    It makes sense because Sergeant Qualls,

   13    wearing big black boots, is kicking him in the groin and the

   14    abdomen and the legs.

   15               I want to conclude with just one final thought.

   16    When you get sent to prison getting beat up is not part of

   17    your sentence.    We talked about Menard's policies, and it's

   18    true that breaking or complying with a policy at Menard,

   19    that's not what we're here to decide today.         You won't have

   20    to decide whether the officers -- the officer defendants

   21    followed the policies or didn't the follow the policies.

   22    Let me be clear:     The policies at Menard say it's not okay

   23    to beat up a prisoner for no reason, and that's what the

   24    constitution says, too.

   25               We ask that you find for plaintiff on his claims


         Nicolas vs. Berry, #15-964
         Court's Final Jury Instructions             8/16/18 - Vol. 3/Pg. 78
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 79 of 92 Page ID #1793


    1    and that you consider an amount that would be fair to

    2    compensate him for his injuries and that you award punitive

    3    damages to tell these officers that this community does not

    4    stand for that abuse.     Thank you.

    5                     COURT'S FINAL JURY INSTRUCTIONS

    6              THE COURT:    All right.    Thank you, Ms. Grady.

    7              Now, ladies and gentlemen, I will read the final

    8    instructions and go over the verdict form with you.

    9              Upon retiring to the jury room you must first

   10    select a presiding juror.      The presiding juror will preside

   11    over your deliberations and be your representative here in

   12    court.

   13              Now, this says "forms of verdict".        We actually

   14    have one form in this case, so, a form of verdict has been

   15    prepared for you.     Take this form to the jury room, and when

   16    you have reached unanimous agreement on the verdict, your

   17    presiding juror will fill in and date the form and all of

   18    you will sign it.

   19              I do not anticipate that you will need to

   20    communicate with me.     If you do need to communicate with me,

   21    the only proper way is in writing.       The writing must be

   22    signed by the presiding juror, or, if he or she is unwilling

   23    to do so, by some other juror.       The writing should be given

   24    to the court security officer, who will give it to me.          I

   25    will respond either in writing or by having you return to


         Nicolas vs. Berry, #15-964
         Court's Final Jury Instructions             8/16/18 - Vol. 3/Pg. 79
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 80 of 92 Page ID #1794


    1    the courtroom so that I can respond orally.         If you do

    2    communicate with me, you should not indicate in your note

    3    what your numerical division is, if any.

    4              The verdict must represent the considered judgment

    5    of each juror.    Your verdict, whether for or against the

    6    parties, must be unanimous.      You should make every

    7    reasonable effort to reach a verdict.        In doing so, you

    8    should consult with one another, express your own views, and

    9    listen to the opinions of your fellow jurors.

   10              Discuss your differences with an open mind.         Do not

   11    hesitate to reexamine your own views and change your opinion

   12    if you come to believe it is wrong.       You should not

   13    surrender your honest beliefs about the weight or effect of

   14    evidence solely because of the opinions of other jurors or

   15    for the purpose of returning a unanimous verdict.

   16              All of you should give fair and equal consideration

   17    to all the evidence and deliberate with the goal of reaching

   18    an agreement that is consistent with the individual judgment

   19    of each juror.    You are impartial judges of the facts.

   20              Now, I will send this verdict form back with you.

   21    As I said, we have one form, but it's four pages, and

   22    counsel went over this a little bit in closing arguments.

   23    But we've indicated there's four claims, and if you look

   24    back on page 22 of your instructions, that sets out what

   25    those four claims are.      And then the instructions that


         Nicolas vs. Berry, #15-964
         Court's Final Jury Instructions             8/16/18 - Vol. 3/Pg. 80
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 81 of 92 Page ID #1795


    1    follow page 22, go through each claim and what must be

    2    proven for each claim.

    3              So once you have decided on each claim -- and

    4    that's by using the instructions -- you will go in, and then

    5    there's a line 1.     The first claim is excessive force,

    6    there's a line for plaintiff, for defendant, and each

    7    defendant listed individually, and you just check a box.

    8              Same with the failure to intervene.        There's four

    9    defendants, so there's four lines there, either for

   10    plaintiff or for the defendant, and the name.

   11              Then the third claim denial of adequate medical

   12    care, same thing.     There's five defendants in that claim so

   13    there's a line for plaintiff and for each defendant.

   14              Wanton and wilful conduct, same thing, five

   15    defendants, and then it's pretty self-explanatory, either

   16    for plaintiff or for defendant and each name.

   17              Now, you will note on page 2 this form says,

   18    "Please complete the following section only if any of the

   19    above findings are in favor of Mr. Nicolas.         If all of the

   20    above findings are in favor of all the defendants, go to

   21    page 4 and sign and date this form."

   22              So, then, if you have found for plaintiff on any of

   23    the claims you will decide what compensatory damages to

   24    award, and write that amount in this line.

   25              Now, on the next page, page 3, it says, "Please


         Nicolas vs. Berry, #15-964
         Court's Final Jury Instructions             8/16/18 - Vol. 3/Pg. 81
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 82 of 92 Page ID #1796


    1    complete the following section only if you assess punitive

    2    damages against one or more of the individual defendants."

    3    So, if you found for the plaintiff and awarded the

    4    compensatory damages here, you move on, and then there's a

    5    line for each defendant if you find that punitive damages

    6    are appropriate.

    7               And, then, the last page just has eight lines.

    8    That's where each of you will sign it and date it, and then

    9    you'll let the court security officer know you've reached a

   10    verdict, and we will return to the courtroom to read that

   11    verdict.

   12               So, Deana will be back with the -- show you how to

   13    work the exhibits and with the verdict form, and we will

   14    just await word that you have reached a verdict.

   15               All rise for the jury.     I need to swear the court

   16    security officer.     Deana, if you would do that at this time.

   17         (The court security officer is sworn)

   18         (Jury out)

   19               THE COURT:   Thank you, everyone.     I appreciate the

   20    professionalism of the lawyers and the parties, everyone in

   21    the case, and that we were able to get this completed in the

   22    time that we did.     Stay close by.    The jury's lunch will

   23    probably be coming in the next half-hour or so but we'll let

   24    them get started.

   25               Deana, have you confirmed all the exhibits, we did


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 82
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 83 of 92 Page ID #1797


    1    that at the end of the day, and that nothing changed?

    2              COURTROOM DEPUTY:     Yes.

    3              THE COURT:    So, you're going to go show them how to

    4    use the system.

    5              Okay.   Stay close.    Now, we're going to have a

    6    change of interpreter at 12:30, so I've asked Ms. Angel to

    7    stick around in case we get a verdict before 12:30, so if we

    8    haven't gotten a verdict by 12:30, I'll come back out just

    9    to confirm everything with the translation before we -- and

   10    then to swear in the new interpreter.        Stay close by.    If

   11    you're going to go very far, let Deana know where you are so

   12    we can get in touch with you as soon as we hear that the

   13    jury's reached a verdict.

   14              All right.    Court's in recess.

   15         (Court recessed from 10:50 a.m. to 12:20 p.m.)

   16              THE COURT:    So, we are back on the record just for

   17    the purpose of leaving one interpreter and swearing in the

   18    other.

   19              So, Ms. Angel was with us this morning and now

   20    Mr. Rafael Saloma-Gonzalez is here for the afternoon.          So I

   21    just want to confirm, Ms. Angel, have you accurately

   22    translated these proceedings as you swore that you would do

   23    when taking the oath earlier today?

   24              INTERPRETER ANGEL:     Yes.

   25              THE COURT:    And, Mr. Nicolas, have you understood


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 83
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 84 of 92 Page ID #1798


    1    the translation provided and did you understand everything

    2    that was translated to you?

    3               THE DEFENDANT:    Yes, Your Honor.

    4               THE COURT:   And, Deana, if you would please

    5    administer the oath to Mr. Gonzalez.

    6         (Interpreter Gonzalez is sworn)

    7               THE COURT:   Okay.   So still remain close by and

    8    we'll let you know when we hear something from the jury.

    9         (Court recessed from 12:24 p.m. to 3:55 p.m.)

   10         (Court reconvened - jury not present)

   11               THE COURT:   It is 3:54.    Just a few moments ago,

   12    the jury told the court security officer that they have

   13    reached a verdict.      I will bring the jury back in here in a

   14    minute.    I will look at the verdict to make sure it's in the

   15    proper form.    I'll then give it to Deana, all but the

   16    signature page, to publish one page at a time, and I will

   17    read the verdict.

   18               If either side wants me to poll the jury, make that

   19    request immediately.     I expect everyone, as you have been

   20    throughout the trial, to be professional and respectful of

   21    the jury's verdict.

   22               I will then go back and talk to the jury for a few

   23    minutes.    We have forms to give them, etc.       Usually what I

   24    do then, if the lawyers want to talk to the jury, is tell

   25    the jury that they can go out the side door, the door that


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 84
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 85 of 92 Page ID #1799


    1    goes over to the federal building next door -- that's the

    2    employee entrance -- and the lawyers can meet them down

    3    there.    If they don't want to talk, the CO will escort them

    4    out the main entrance.      If they go out that door, that means

    5    they don't want to talk.

    6               Kristen, you can tell them we're ready.

    7         (Jury in)

    8               THE COURT:   Ladies and gentlemen, the court

    9    security officer informed me a few moments ago that you have

   10    reached a verdict.      Juror No. 2 is our foreperson.      Would

   11    you please hand the verdict form to the court security

   12    officer.

   13         (Court security officer hands document to the Court)

   14               THE COURT:   Okay.   I have reviewed the form.      It

   15    appears to be in proper form and it is signed by all eight

   16    jurors.    I will hang onto the signature page.

   17               Deana, I will ask then that you publish the form

   18    one page at a time, and I will read it as you publish it.

   19               Now, the verdict form reads:      On the first claim

   20    for excessive force, the jury finds in favor of Defendant

   21    Berry; and in favor of plaintiff and against Defendant

   22    Qualls.    So that's for Defendant Berry and against

   23    plaintiff; and for plaintiff and against Qualls on the

   24    excessive force claim.

   25               On the second claim for failure to intervene, the


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 85
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 86 of 92 Page ID #1800


    1    jury finds for the plaintiff and against Defendant Berry;

    2    for the plaintiff and against Defendant Qualls; for the

    3    plaintiff and against Defendant Snell; and for Defendant

    4    Purdom and against plaintiff.

    5              Now, on the third claim of denial of adequate

    6    medical care, the jury finds for the plaintiff and against

    7    Defendant Berry; for the plaintiff and against Defendant

    8    Qualls; for Defendant Snell and against plaintiff; for

    9    Defendant Purdom and against plaintiff; and for plaintiff

   10    and against Defendant Lang.

   11              On the fourth claim for wanton and wilful conduct,

   12    the jury finds for the plaintiff and against Defendant

   13    Berry; for the plaintiff and against Defendant Qualls; for

   14    the plaintiff and against Defendant Snell; for Defendant

   15    Purdom and against plaintiff; for plaintiff and against

   16    Defendant Lang.

   17              Now, the jury awards compensatory damages in the

   18    amount of $1,000.

   19              The jury then further awards punitive damages for

   20    the Plaintiff Jose-Nicolas and against Defendant Berry in

   21    the amount of $1,000; for the plaintiff and against

   22    Defendant Qualls in the amount of $200,000; for the

   23    plaintiff and against Defendant Snell in the amount of $100;

   24    for the plaintiff and against -- I'm sorry, no punitive

   25    damages against Defendant Purdom.       And, with respect to


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 86
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 87 of 92 Page ID #1801


    1    Defendant Aimee Lang, the jury awards punitive damages in

    2    the amount of $50,000.

    3              All right.    Well, ladies and gentlemen, thank you

    4    for your time.    You clearly worked hard all this week and

    5    paid close attention, took a lot of notes, and I know you

    6    deliberated for a long time, and so I do greatly appreciate

    7    your time.    I know that the lawyers and the parties do.

    8              MR. TYRRELL:    Your Honor, defendants request the

    9    jury be polled, please.

   10              THE COURT:    All right.    I will do that.    Deana, can

   11    I have that form?

   12              So, ladies and gentlemen, I have just reviewed the

   13    four-page verdict form, going through each of the four

   14    claims and your award on each claim and the award of

   15    compensatory and punitive damages.       So I'm now just going to

   16    poll the jury.    I'm just going to ask each and every one of

   17    you to confirm that this is, in fact, your verdict.

   18              So, first, Juror No. 1 -- don't want to say the

   19    name, from Collinsville -- is this your verdict and did you

   20    sign this form and return this yesterday?

   21              JUROR NO. 1:    Yes, ma'am.

   22              THE COURT:    All right.    And, Juror No. 2, our

   23    foreperson, is this your verdict?       Did you return this

   24    verdict and did you sign this form?

   25              JUROR NO. 2:    Yes, ma'am.


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 87
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 88 of 92 Page ID #1802


    1               THE COURT:   Juror No. 3, is this also your verdict

    2    that you returned as part of this jury, and did you sign

    3    this form?

    4               JUROR NO. 3:   Yes, ma'am.

    5               THE COURT:   Juror No. 4, same question:      Is this

    6    your verdict?    Did you return this verdict and sign this

    7    form?

    8               JUROR NO. 4:   Yes, ma'am.

    9               THE COURT:   Juror No. 5, is this your verdict?       Did

   10    you return this verdict and is this your signature?

   11               JUROR NO. 5:   Yes, ma'am.

   12               THE COURT:   Juror No. 6, is this your verdict?       Did

   13    you return this verdict as part of the jury, and is this

   14    your signature?

   15               JUROR NO. 6:   Yes, ma'am.

   16               THE COURT:   Juror No. 7, is this also your verdict?

   17    Did you return the verdict as part of the jury, and is this

   18    your signature on the form?

   19               JUROR NO. 7:   Yes, ma'am.

   20               THE COURT:   And, finally, Juror No. 8, is this your

   21    verdict?   Did you return it as part of the jury, and is this

   22    your signature on the form?

   23               JUROR NO. 8:   Yes, ma'am.

   24               THE COURT:   All right.    Anything else, Counsel?

   25               MS. GRADY:   No, Your Honor.


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 88
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 89 of 92 Page ID #1803


    1              MR. TYRRELL:    No, Your Honor.

    2              THE COURT:    All right.    Thank you again, ladies and

    3    gentlemen.    If you would go back to the jury room for just a

    4    few minutes.    I will come back, and we have some forms for

    5    you, and I think a token of our appreciation from the

    6    District Court, and I can answer any questions.

    7              And, then, what I -- if you would like to speak to

    8    any of the lawyers, they will be waiting by the employee

    9    entrance, which is the side door.       If you want to talk to

   10    them, you may talk to them there.       If you don't want to talk

   11    to them, the officer will escort you out the main door to

   12    your cars.

   13              Thank you again.     Have a nice evening.     Be careful

   14    going home, and I'll be back in a few minutes.         All rise for

   15    the jury.

   16         (Jury out)

   17              THE COURT:    Be seated, everyone.

   18              So, Ms. Grady, Ms. Goodwin, Ms. Crosley, thank you

   19    for your service as appointed counsel.        The Court greatly

   20    appreciates it, as I know Mr. Nicolas does as well.

   21              I will enter judgment on the jury's verdict.

   22    There's a lot to digest here, but I can tell you, as long as

   23    it took them, they worked hard.       I think they put a lot of

   24    thought into the verdict.      So I'll enter judgment on the

   25    jury's verdict and you will be relieved of -- I guess you


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 89
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 90 of 92 Page ID #1804


    1    weren't really appointed.

    2              MS. GRADY:    That's true.

    3              THE COURT:    You will be relieved of the

    4    appointment, and I remind you to file a motion for

    5    out-of-pocket costs.

    6              MS. GRADY:    Yes, Your Honor.     Will we be permitted

    7    to file the motion for costs and could we remain in the case

    8    to file motions afterwards even though we're relieved?

    9              THE COURT:    Sure.   In fact, I'll leave you in the

   10    case for now knowing that, you know, your appointment

   11    technically ends at the conclusion of the trial.

   12              MS. GRADY:    Okay.   Thank you.

   13              THE COURT:    Anything else on behalf of the

   14    plaintiff?

   15              MS. GRADY:    No, Your Honor.

   16              THE COURT:    Anything else on behalf of the

   17    defendants, Mr. Tyrrell?

   18              MR. TYRRELL:    Your Honor, just to clarify, I think

   19    my Rule 50 motion was still pending or reserved ruling.          Is

   20    that by any chance denied then?

   21              THE COURT:    Yeah, I will deny that in light of the

   22    jury's verdict.    Like I said, we'll enter judgment.        You can

   23    file the appropriate post-trial motion.

   24              MR. TYRRELL:    Thank you, Your Honor.

   25              THE COURT:    Okay.   So, finally,


         Nicolas vs. Berry, #15-964
                                                     8/16/18 - Vol. 3/Pg. 90
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 91 of 92 Page ID #1805


    1    Mr. Saloma-Gonzalez, let me ask you:         Have you accurately

    2    translated these proceedings here today as you indicated you

    3    would do when taking the oath?

    4               INTERPRETER GONZALEZ:     I have, Your Honor.

    5               THE COURT:   And, Mr. Nicolas, have you understood

    6    the translation provided?        Did you understand everything

    7    that was translated for you?

    8               THE DEFENDANT:    Yes, Your Honor.

    9               THE COURT:   Then nothing further is before the

   10    court at this time.     The Court's in recess.      Have a nice

   11    evening.

   12         (Proceedings adjourned at 4:00 p.m.)

   13                                 *   *   *   *

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         Nicolas vs. Berry, #15-964
                                                      8/16/18 - Vol. 3/Pg. 91
Case 3:15-cv-00964-NJR-GCS Document 219 Filed 12/20/18 Page 92 of 92 Page ID #1806


    1                          REPORTER'S CERTIFICATE

    2
              I, Laura A. Esposito, RPR, CRR, CRC, Official Court
    3    Reporter for the U.S. District Court, Southern District of
         Illinois, do hereby certify that I reported in shorthand the
    4    proceedings contained in the foregoing 91 pages, and that
         the same is a full, true, correct, and complete transcript
    5    from the record of proceedings in the above-entitled matter.

    6          Dated this 17th day of December, 2018.

    7
                                                        Digitally signed by Laura
                                                        Esposito
    8                                                   Date: 2018.12.17 13:11:39
                                        _______________________________
                                                        -06'00'
    9                                   LAURA A. ESPOSITO, RPR, CRR, CRC

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         Nicolas vs. Berry, #15-964
                                                      8/16/18 - Vol. 3/Pg. 92
